                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE


LEWIS COSBY, ERIC MONTAGUE, and                        )
MARTIN ZIESMAN, as co-trustee for the                  )
Carolyn K. Ziesman Revocable Trust, on behalf          )
of themselves and all others similarly situated,       )
                                                       )
               Plaintiffs,                             )
v.                                                     )   No. 3:16-CV-121-TAV-DCP
                                                       )
KPMG, LLP,                                             )
                                                       )
               Defendant.                              )


                             REPORT AND RECOMMENDATION

       This case is before the undersigned pursuant to 28 U.S.C. § 636, the Rules of this Court,

and the referral Order [Doc. 109] of the District Judge.

       Now before the Court is Plaintiffs’ Motion to Certify the Classes, Appoint Class

Representatives, and Appoint Class Counsel [Doc. 107]. The parties appeared before the

undersigned for a motion hearing on December 10, 2019. Attorneys Laura Posner, Alan Dreschel,

and Gordan Ball appeared on behalf of Plaintiffs. Attorneys Gregory Ballard, Allyson Riemma,

and Paul Davidson appeared on behalf of Defendant. Accordingly, for the reasons further

explained below, the Court RECOMMENDS the Plaintiffs’ Motion [Doc. 107] be GRANTED.

I.     BACKGROUND

        The instant matter is a securities action, whereby Plaintiffs allege claims pursuant to

Section 10(b) of the Securities Exchange Act and Rule 10b-5 (“Section 10”) and Section 11 of the

Securities Act (“Section 11”). Plaintiffs’ Section 10 claim alleges that Defendant fraudulently

concealed material information about Miller Energy Resources, Inc., (“Miller Energy”), which



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caused Miller Energy to misstate and omit material facts in its financial reports. 1 With respect to

the Section 11 claim, Plaintiffs allege that the offering documents for the securities were materially

misleading.

       The Complaint [Doc. 1] in this matter was filed on March 14, 2016, and on September 15,

2017, Plaintiffs filed a Second Amended Class Action Complaint (“Amended Complaint”) [Doc.

59]. The Amended Complaint states that Miller Energy was an independent exploration and

production company that explored for, developed, and operated oil and gas wells in south-central

Alaska and Tennessee. [Id. at ¶ 22]. Plaintiffs represent a class of individuals who purchased

Miller Energy stock. [Id. at ¶¶ 14-16]. 2 Defendant is an accounting firm that Miller Energy

retained as its independent auditor on February 1, 2011. [Id. at ¶ 18].

       In late 2009, Miller Energy purchased oil and gas assets in Alaska (“Alaska Assets”). [Id.

at ¶ 1]. The Amended Complaint alleges that Miller Energy falsified its financials to overstate the

value of the Alaska Assets. [Id.]. The Amended Complaint states that the overstatement of the

Alaska Assets was the single most important event in Miller Energy’s history, transforming it from

a penny-stock company trading on the pink sheets to one traded on the New York Stock Exchange

(“NYSE”). [Id.].

       As mentioned above, on February 1, 2011, Miller Energy hired Defendant as its

independent auditor. [Id. at ¶ 63]. With respect to Plaintiffs’ Section 10 claim, they allege that

Defendant issued audit reports containing unqualified opinions on Miller Energy’s annual financial

statements for fiscal years 2011 through 2014, which were included in Miller Energy’s Form 10-



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        Plaintiffs also alleged a claim under Section 10 for scheme liability, but this claim was
dismissed by the District Judge [Doc. 76].
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        The Court permitted Plaintiffs Eric Montague and Martin Ziesman, as co-trustee for the
Carolyn K. Ziesman Revocable Trust, to be substituted as named Plaintiffs in this action.
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K filings that contained materially inflated asset values for Miller Energy’s oil and gas properties.

[Id. at ¶ 73]. In addition, Defendant provided review services related to Miller Energy’s quarterly

financial statements beginning in the third quarter of 2011, and Defendant recorded the value of

the Alaska Assets as substantially the same as the $480 million value initially reported by Miller

Energy following the acquisitions of those assets in December 2009. [Id. at ¶ 74]. The Amended

Complaint alleges that Defendant knowingly and recklessly abdicated its responsibilities in

connection with its audits of Miller Energy’s financial statements for fiscal years 2011 through

2014 and that had Defendant conducted its audits in compliance with Generally Accepted Auditing

Standards (“GAAS”) and the standards articulated by the Public Company Account Oversight

Board (“PCAOB”), it would have discovered Miller Energy’s fraud. [Id. at ¶ 75]. The Amended

Complaint alleges that by issuing clean opinions for the 2011-2014 fiscal years, Defendant

knowingly and recklessly disregarded significant material weaknesses in Miller Energy’s internal

controls, specifically, internal controls relating to the way Miller Energy valued the Alaska Assets.

[Id.].

         The Amended Complaint alleges that from August 29, 2011, to October 1, 2015, (“Class

Period”) Defendant repeatedly and materially violated GAAS in each of its audits and failed to

properly plan and perform its audits to obtain reasonable assurance that Miller Energy’s financial

statements were free of material misstatements. [Id. at ¶ 81]. In addition, the Amended Complaint

alleges that Defendant failed to properly assess the risk associated with the Miller Energy

engagement. [Id. at ¶ 83]. The Amended Complaint states that despite a number of significant

risks, Defendant assigned the Miller Energy engagement an overall risk grade of “medium,” in its

initial evaluation, and this designation was not reevaluated and changed to “high” until after




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Defendant issued its first unqualified opinion on Miller Energy’s 2011 fiscal year financial

statements. [Id. at ¶ 99].

       Further, the Amended Complaint alleges that Defendant (1) failed to ensure adequate

personnel management, competency, and proficiency on the Miller Energy engagement, see [id.

at ¶¶ 100-103]; (2) failed to properly plan the Miller Energy audits, see [id. at ¶¶ 104-106]; (3)

failed to adequately assess whether Miller Energy’s valuation of the Alaska Assets conformed with

Generally Accepted Accounting Principles (“GAAP”), see [id. at ¶¶ 107-118]; (4) failed to obtain

sufficient competent evidence regarding the assumptions on which Miller Energy’s valuation of

the Alaska Assets was based, see [id. at ¶¶ 119-136]; (5) failed to exercise due professional care

and professional skepticism in connection with the Miller Energy audits, see [id. at ¶¶ 137-149];

(6) failed to properly supervise its engagement team, see [id. at ¶¶ 150-151]; (7) lacked

independence, see [id. at ¶¶ 152-169]; and (8) failed to perform an adequate audit, thereby

concealing Miller Energy’s fraud from investors, see [id. at ¶¶ 170-175].

       The Amended Complaint further states that Defendant made false and misleading

statements in connection with Miller Energy’s Form 10-K/A and Form 10-K. [Id. at ¶¶ 182-188].

Such false and misleading statements were also incorporated into Miller Energy’s September 6,

2012 Registration Statement, which became effective on September 18, 2012, and into various

prospectus supplements as follows:




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                                                                                   Prospectus
                 Registration      Prospectus      Prospectus      Prospectus                      Prospectus     Prospectus
                                                                                   supplement
               Statement dated    supplement      supplement     supplement                        supplement     supplement
                                                                                      dated
                September 6,     dated February   dated May 7,   dated June 27,                   dated October      dated
                                                                                  September 25,
                    2012            13, 2013          2013            2013                          17, 2013      August 20,
                                                                                      2013
                                                                                                                     2014
   KPMG’s
  August 29,
     2011
                     x                 x                x               x              x               x              x
    Report
   KPMG’s
   July 16,
                     x                 x                x               x              x               x              x
    2012
   Reports
   KPMG’s
   July 15,
    2013                                                                               x               x              x
   Reports
   KPMG’s
   July 15,
    2014                                                                                                              x
   Reports



[Id. at ¶ 189]. The Amended Complaint states that beginning in December 2013, and through the

time Miller Energy filed for bankruptcy, the truth that Miller Energy was a fraud, and the risks

concealed by that fraud, including Defendant’s participation in it, leaked out, were revealed, and

materialized. [Id. at ¶ 198]. Based on the above allegations, Plaintiffs allege violations of Section

10.

        With respect to the Section 11 claim, the Amended Complaint alleges that during the Class

Period, Miller Energy conducted six securities offerings (“Offerings”). [Id. at ¶ 284]. On or about

September 6, 2012, Miller Energy filed a Form S-3 registration statement and prospectus using a

“shelf” registration (“Shelf Registration Statement”). [Id. at ¶ 285]. Under the Shelf Registration

Statement, Miller Energy would offer for sale securities using future prospectus supplements,




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which would form part of the registration statement for those offerings. [Id.]. As mentioned above,

the Shelf Registration Statement became effective on September 18, 2012. 3

        The Amended Complaint states that during the Class Period, the Offerings were conducted

pursuant to the September 6, 2012 Shelf Registration Statement, as follows:

          Date           Series        Price          Shares             Proceeds
      Feb. 13, 2013     Series C      $22.90          625,000           $14,312,500
       May 7, 2013      Series C      $22.25          500,000           $11,125,000
      June 27, 2013     Series C      $21.50          335,000            $7,202,500
      Sep. 25, 2013     Series D      $25.00         1,000,000          $25,000,000
                                     $23.95-
      Oct. 17, 2013     Series D                      70,448             $1,701,000
                                     $24.38
      Aug. 20, 2014     Series D      $24.50         750,000            $18,375,000

[Id. at ¶ 286]. The Amended Complaint alleges that each offering was marketed and sold to the

public through the materially misstated Shelf Registration Statement and each respective

prospectus supplement. [Id. at ¶¶ 287-292]. Further, the Amended Complaint states that the

financial information incorporated by reference into the Offering Documents, including the

internal control-related representations and unqualified audit reports, contained untrue statements

of material fact or omitted to disclose material facts required to be stated therein or necessary to

make the statements therein not misleading. [Id. at ¶ 293].

II.     POSITIONS OF THE PARTIES

        Plaintiffs move the Court pursuant to Federal Rule of Civil Procedure 23 to certify the

following classes:

               1. All persons or entities who purchased or otherwise acquired
                  Miller Energy common stock, Miller Energy 10.75% Series C
                  Cumulative Redeemable Preferred Stock (the “Series C
                  Preferred Stock”) or Miller Energy 10.5% Series D Fixed
                  Rate/Floating Rate Cumulative Redeemable Preferred Stock

        3
         The Court will refer to the Shelf Registration Statement and the prospectus supplements,
collectively as the “Offering Documents.”
                                                 6

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                   (the “Series D Preferred Stock”) between August 29, 2011, and
                   October 1, 2015 (the “Class Period”), inclusive, and who were
                   damaged thereby (the “Section 10(b) Class”);

               2. All persons or entities who purchased or otherwise acquired
                  Miller Energy Series C Preferred stock or Series D Preferred
                  Stock pursuant to or traceable to the Offering Documents and
                  were damaged thereby (the “Section 11 Class”). 4

       Excluded from the Classes are the following: Defendant, the Officers, Directors, Partners,

and affiliates of Defendant at all relevant times, members of their immediate families and their

legal representatives, heirs, successors or assigns, and any entity in which Defendant has or had a

controlling interest. In addition, Plaintiffs seek an order appointing Lewis Cosby, Eric Montague,

and Martin Ziesman, as Co-Trustee for the Carolyn K. Ziesman Trust, as Class Representatives.

Finally, Plaintiffs request that the law firms of Gordon Ball PLLC and Cohen Milstein Sellers &

Toll PLLC (collectively, “Class Counsel”) be appointed as Class Counsel.

       Plaintiffs assert that the Classes meet the requirements of Rule 23(a). First, they state that

the Classes are numerous because Miller Energy was actively traded on the NYSE during the Class

Period and that the average trading volume was 2,140,764 shares per week. Second, Plaintiffs

contend that common questions of law and fact exist in the Classes, arguing that Defendant made

uniform misrepresentations and omissions to the investing public. With respect to typicality,

Plaintiffs assert that the proposed Class Representatives are typical of, if not virtually identical to,

the claims of the members of the proposed Classes. Specifically, Plaintiffs claim that the proposed

Class Representatives’ claims arise from the same events, invoke the same legal theories, are




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          The Court will refer to the Series C and Series D Preferred Stock, collectively as the
“Preferred Stock,” “Preferred Securities,” or “Preferred Shares.” The Court will refer to the
common stock, Series C Preferred Stock, and Series D Preferred Stock, collectively as the
“Securities” unless otherwise noted. Finally, the Court will refer to the Section 10 and Section 11
classes, collectively as the “Classes.”
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subject to the same defenses, and will use the same evidence to establish the members’ claims.

Finally, Plaintiffs argue that the proposed Class Representatives will fairly and adequately protect

the interests of the Classes. Plaintiffs explain that the proposed Class Representatives sustained

their losses as a result of the same material misrepresentations and omissions contained and

repeated in Miller Energy’s financial statements, audit opinions, and in the Offering Documents.

       With respect to Rule 23(b)(3), Plaintiffs state that common questions of law and fact

predominate over any individual questions and a class action is superior to other available methods

for adjudicating the controversy. Plaintiffs argue that they only need to show a material

misstatement or omission to establish their prima facie case under Section 11, and therefore, such

elements can be proven by common evidence. Plaintiffs further argue that they will also rely on

common evidence with respect to their Section 10 Class because they are entitled to a presumption

of reliance pursuant to Basic, Inc., v. Levinson, 485 U.S. 224 (1998) and Affiliated Ute Citizens of

Utah v. United States, 406 U.S. 128 (1972). Plaintiffs argue that a class action is the superior

method for resolving this case and that Class Counsel has experience in litigating similar cases.

       Defendant responds [Doc. 129] that the Classes do not meet all the requirements set forth

in Rule 23. With respect to the Section 10 Class, Defendant states that it cannot be certified as a

class for four main reasons. First, Defendant argues that individual issues of reliance will

overwhelm common issues and that neither the Basic presumption, nor the Affiliated Ute

presumption, is applicable. Second, Defendant argues that individual issues of damages will

overwhelm the common issues, arguing that Plaintiffs rely on a materialization of the risk theory

and that there is no way to know who falls into each risk category without obtaining information

from each person. Third, Defendant states that issues of timeliness will overwhelm common issues

because the Section 10 claims are barred if they are brought more than two (2) years after the



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discovery of the pertinent facts. Defendant contends that there were red flags showing that

Plaintiffs should have been aware of Miller Energy’s financial circumstances. Finally, Defendant

states that the proposed Class Representatives’ claims are not typical, stating that all three of the

proposed Class Representatives purchased stock after at least one of the events that allegedly

revealed the truth. Defendant argues that in order to maintain the fraud on the market presumption,

a plaintiff must have traded the stock between the time that the misrepresentations were made and

when the truth was revealed.

       In addition, Defendant contends that class certification of the Section 11 Class must be

denied. First, Defendant argues that Plaintiff Ziesman’s claims are not typical. Second, Defendant

argues that Plaintiffs have not established numerosity. Third, Defendant submits that individual

issues of reliance, damages, and timeliness will overwhelm common issues. Further, Defendant

asserts that the Class Representatives and Class Counsel are not adequate. Finally, Defendant

argues that no class of Series D purchasers may be certified because none of the proposed Class

Representatives purchased the Series D Preferred Stock.

       Plaintiffs filed a Reply [Doc. 141], maintaining that both Classes should be certified. With

respect to the Section 10 Class, Plaintiffs argue that Defendant concedes that they have met the

numerosity, commonality, adequacy, and superiority requirements. Further, Plaintiffs argue that

common issues do not predominate and that they are entitled to rely on the presumptions

established in Basic and Affiliated Ute. Plaintiffs assert that they have also established typicality

and that Defendant does not dispute that the proposed Class Representatives allege that they

purchased securities at prices artificially inflated by fraud, making their claims based on the same

legal theories and facts as the proposed class.




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        In addition, Plaintiffs assert that they have established that the Section 11 class should be

 certified. First, Plaintiffs argue that they have established that the proposed class is numerous,

 citing to the millions of shares sold. Second, Plaintiffs argue that their claims are typical and that

 Defendant’s argument that Plaintiff Ziesman cannot trace his Series C Preferred Stock is incorrect

 because courts nationwide have held that tracing is not a bar to certifying a Section 11 case. In

 addition, Plaintiffs state that Plaintiff Ziesman is not the only proposed representative in the

 Section 11 class and that Plaintiff Cosby also seeks to be a representative. Finally, Plaintiffs state

 that Section 11 damages can be calculated on a class wide basis pursuant to the statutory formula.

 III.   STANDARD OF REVIEW

        Federal Rule of Civil Procedure 23 governs class actions. In pertinent part, Rule 23 directs

 that a class may be certified for litigation of claims where:

                (1) the class is so numerous that joinder of all members is
                impracticable;

                (2) there are questions of law or fact common to the class;

                (3) the claims or defenses of the representative parties are typical of
                the claims or defenses of the class; and

                (4) the representative parties will fairly and adequately protect the
                interests of the class.

 Fed. R. Civ. P. 23(a).

        Once plaintiffs have satisfied each of the four prerequisites of Rule 23(a), they must then

 establish that the proposed class action meets at least one of the three categories set forth in Rule

 23(b). In re Nw. Airlines Corp. Antitrust Litig., 208 F.R.D. 175, 216 (E.D. Mich. 2002). Here,

 Plaintiffs move pursuant to Rule 23(b)(3), which provides:

                (1) [Omitted];

                (2) [Omitted]; or

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                 (3) the court finds that the questions of law or fact common
                 to class members predominate over any questions affecting only
                 individual members, and that a class action is superior to other
                 available methods for fairly and efficiently adjudicating the
                 controversy. The matters pertinent to these findings include:

                        (A) the class members’ interests in individually controlling
                        the prosecution or defense of separate actions;

                        (B) the extent and nature of any litigation concerning the
                        controversy already begun by or against class members;

                        (C) the desirability or undesirability of concentrating the
                        litigation of the claims in the particular forum; and

                        (D) the likely difficulties in managing a class action.

 Fed. R. Civ. P. 23(b)(3). 5

         In addition to the above requirements, Plaintiffs must show the existence of an

 ascertainable class. Avio, Inc. v. Alfoccino, Inc., 311 F.R.D. 434, 440 (E.D. Mich. 2015). This

 means that “the class definition must be sufficiently definite so that it is administratively feasible

 for the court to determine whether a particular individual is a member of the proposed class.”

 Young v. Nationwide Mut. Ins. Co., 693 F.3d 532, 537-38 (6th Cir. 2012) (quoting 5 James W.

 Moore et al., Moore’s Federal Practice § 23.21[1] (Matthew Bender 3d ed. 1997)). The Sixth

 Circuit has made clear that the proposed class “must be susceptible of [a] precise definition.” Id.

 (other citations omitted).

         “The party seeking the class certification bears the burden of proof.” In re Am. Med. Sys.,

 Inc., 75 F.3d 1069, 1079 (6th Cir. 1996); see also Senter v. Gen. Motors Corp., 532 F.2d 511, 522

 (6th Cir. 1976). Some courts have observed that “suits alleging violations of the securities laws,




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          Because Plaintiffs move for class certification pursuant to Rule 23(b)(3), the Court has
 omitted the other statutory provisions.
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 particularly those brought pursuant to Sections 11 and 12(a)(2), are especially amendable to class

 action resolution.” Pub. Emp. Ret. Sys. of Miss. v. Merrill Lynch & Co., 277 F.R.D. 97, 101

 (S.D.N.Y. 2011). Before certifying a class, however, a district court must conduct a “rigorous

 analysis” into whether the prerequisites of Rule 23 are met. In re Am. Med. Sys. Inc., 75 F.3d at

 1078-79 (quoting Gen. Tel. Co. v. Falcon, 457 U.S. 147, 162 (1982)). This “rigorous analysis”

 may well “entail some overlap with the merits of the plaintiff’s underlying claims.” Wal-Mart

 Stores, Inc. v. Dukes, 564 U.S. 338, 351 (2011). “The district court retains broad discretion in

 determining whether an action should be certified as a class action, and its decision, based upon

 the particular facts of the case, [will] not be overturned absent a showing of abuse of discretion.”

 Sterling v. Velsicol Chem. Corp., 855 F.2d 1188, 1197 (6th Cir. 1988).

        With the above guidance in mind, the Court will now turn to the facts of the present matter.

 IV.    ANALYSIS

        The Court has considered the parties’ arguments, including the oral arguments at the

 December 10 hearing. Accordingly, for the reasons set forth below, the Court RECOMMENDS

 that Plaintiffs’ Motion [Doc. 107] be GRANTED.

        As mentioned above, Plaintiffs have moved to certify two classes: the Section 10 Class and

 the Section 11 Class. Defendant has opposed certification of both Classes and asserts that no class

 of the Series D Preferred Stock may be certified. The Court will address these arguments

 separately.

        A.      The Section 10 Class

        As mentioned above, Plaintiffs have defined their proposed Section 10 Class as all persons

 or entities who purchased or otherwise acquired Miller Energy common stock, Miller Energy,

 Series C Preferred Stock, or Series D Preferred Stock between August 29, 2011, and October 1,



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 2015, inclusive, and who were damaged thereby. The Court will first address the Rule 23(a)

 requirements and then turn to the Rule 23(b)(3) requirements.

        1.      Rule 23(a)

        Pursuant to Rule 23(a), Plaintiffs must establish the following: (1) the proposed class is

 numerous, (2) the class shares common questions of law and fact, (3) the proposed Class

 Representatives’ claims are typical of the other class members, and (4) the proposed Class

 Representatives will fairly and adequately protect the interests of the class. See Fed. R. Civ. P.

 23(a). The Court will address these requirements separately.

        i.      Numerosity

        Plaintiffs assert that the exact number of class members is currently unknown, but they

 estimate that there are thousands of members in the Section 10 Class. Plaintiffs state that the Miller

 Energy Securities were actively traded on the NYSE during the Class Period and that the common

 stock’s average trading volume was approximately 2,140,174 shares per week and that the average

 weekly turnover was 4.88%. Further, Plaintiffs state that according to Miller Energy’s documents

 filed with the Securities Exchange Commission (“SEC”), more than 6.21 million Series C and

 Series D Preferred Shares were sold in the Offerings during the Class Period. Plaintiffs argue that

 such shows that there are at least thousands of investors that are part of the Section 10 Class.

 Plaintiffs state that given the size of the proposed class, individual joinder is impractical and

 logistically impossible. Plaintiffs state that such is true given that the members of the Section 10

 Class are located throughout the country.

        Defendant did not respond to Plaintiffs’ argument in its brief. During the oral argument,

 however, Defendant argued that while it did not respond, Plaintiffs are still required to show that

 they meet all requirements under Rule 23.



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        Pursuant to Rule 23(a)(1), Plaintiffs must establish that their class is so numerous that

 joinder of all members is impracticable. While there is no strict numerical test, substantial numbers

 usually satisfy the numerosity requirement. In re Am. Med. Sys. Inc., 75 F.3d at 1079 (citing

 Senter, 532 F.2d at 522). The “exact number of class members need not be pleaded or proved,”

 but “impracticability of joinder must be positively shown and cannot be speculative.” McGee v.

 East Ohio Gas Co., 200 F.R.D. 382, 389 (S.D. Ohio 2011). “Apart from class size, other case-

 specific factors that courts should consider in determining whether joinder is impracticable

 include: the judicial economy, the geographical dispersion of class members, the ease of

 identifying putative class members, and the practicality with which individual putative class

 members could sue on their own.” Cannon v. GunnAllen Fin., Inc., No. 3:06-0804, 2008 WL

 4279858 (M.D. Tenn. Sept. 15, 2008) (citing Alba Conte & Herbert Newberg, 1 Newberg on Class

 Actions § 3:6 (4th ed. 2003)). “Numerosity is generally assumed to have been met in class action

 suits involving nationally traded securities.” Burges v. Bancorpsouth, Inc., No. 3:14-cv-1564,

 2017 WL 2772122, at *2 (M.D. Tenn. June 26, 2017).

        The Court finds that Plaintiffs have established numerosity. Here, the Miller Energy

 Securities were traded on the NYSE during the Class Period. The average trading volume for the

 common stock was over 2 million shares per week. [Doc. 121 at ¶ 29]. Further, with respect to

 the Preferred Shares, Plaintiffs state that according to Miller Energy’s documents, 6.21 million

 shares were sold. Accordingly, Plaintiffs have established that the class is so numerous that joinder

 is impractical.

        ii.        Commonality

        Plaintiffs assert that they have established the existence of common questions of law or

 fact. Plaintiffs argue that Defendant made uniform misrepresentations to the investing public. For



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 example, Plaintiffs list eight questions, which they assert are common among the Class: (1)

 whether Defendant violated federal securities laws, (2) whether and to what extent Miller Energy’s

 financial statements during the proposed Class Period, and incorporated in the Offering

 Documents, failed to comply with GAAP, (3) whether the value of the Alaska Assets was

 fraudulently overstated during the proposed Class Period and in the Offering Documents, (4)

 whether statements (or omissions) made by Defendant to the investing public misrepresented (or

 omitted to state) material facts about the business, operations, and management of Miller Energy,

 (5) whether Defendant’s audits of Miller Energy’s financial statements, and incorporated into the

 Offering Documents, were conducted in accordance with GAAS and the standards of the PCAOB,

 (6) whether Defendant abandoned its duty of independence as Miller Energy’s auditor, (7) whether

 Defendant acted with scienter, and (8) to what extent the members of the Section 10 Class have

 sustained damages and the proper measure of damages. Plaintiffs state that the answers to these

 common questions will drive the resolution of this lawsuit. Defendant does not respond to

 Plaintiffs’ argument.

        As mentioned above, Rule 23(a)(2) requires Plaintiffs to establish that there are “questions

 of law or fact common to the class.” Fed. R. Civ. P. 23(a)(2). The commonality requirement is

 “qualitative rather than quantative, that is, there need be only a single issue common to all members

 of the class.” In re Am. Med. Sys., Inc., 75 F.3d at 1080 (quoting Newberg & Alba Conte, Newberg

 on Class Actions § 3.10 at 3-50 (3d ed. 1992)); see also Wal-Mart Stores, Inc., 564 U.S. at 359

 (explaining that under Rule 23(a)(2), a single common issue will suffice).

        The Court finds that Plaintiffs have demonstrated commonality. Plaintiffs have listed eight

 common questions, and the Court notes that Defendant has not challenged Plaintiffs’ argument.




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 Accordingly, the Court finds Plaintiffs have established that there are common questions of law

 and fact with respect to the class members.

        iii.    Typicality

        Plaintiffs assert that the proposed Class Representatives’ claims are typical of, if not

 virtually identical to, the claims of the members of the class. Plaintiffs assert that it is irrelevant

 which Miller Energy security each of the proposed Class Representatives purchased because all of

 the claims arise from the very same false and misleading statements and omissions by Defendant,

 which were incorporated into Miller Energy’s Forms 10-K and 10-Q and the Offering Documents.

 Plaintiffs argue that the proposed Class Representatives include purchasers of Miller Energy

 common stock and Preferred Stock who suffered losses after purchasing the Miller Energy

 Securities at artificially inflated prices and that the Class Representatives and the members share

 identical interests in holding Defendant accountable and maximizing their recovery.

        Defendant argues that the claims of the three proposed Class Representatives are not

 typical. Specifically, Defendant states that all three bought stock after at least one of the events,

 as alleged in the Amended Complaint, revealed the truth. Defendant states that in order to invoke

 the fraud on the market presumption, a plaintiff must have traded the stock between the time the

 misrepresentations were made and when the truth was revealed. In addition, Defendant states that

 Plaintiff Cosby is not typical for another reason. Defendant explains that because of the timing of

 his purchase and sale of his stock, he is uniquely ill-suited to prove loss causation. Further,

 Defendant states that Plaintiffs Montague and Ziesman are not typical for another reason—that is,

 they admitted that they did not read Miller Energy’s Form 10-K or Defendant’s audit opinion and

 acknowledged that had they read those materials, they would have learned of the facts and

 circumstances that likely would have caused them not to purchase the securities.



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        Plaintiffs reply that typicality requires nothing more than showing that the proposed Class

 Representatives purchased Miller Energy securities at prices artificially inflated by fraud and that

 their claims are based on the same legal theories and facts. With respect to Plaintiff Cosby,

 Plaintiffs state that differences in the timing of his stock purchases do not make his claims atypical

 because Plaintiffs have alleged a common scheme of misrepresentation. Further, with respect to

 Plaintiffs Ziesman and Montague, Plaintiffs state that Defendant is essentially arguing that their

 reliance is not justified because they did not read Defendant’s audit reports prior to investing.

 Plaintiffs state that such is inconsistent with the Basic presumption of reliance and that whether

 their inaction was justified goes to the merits of the case and not to class certification.

        “A claim is typical if ‘it arises from the same event or practice or course of conduct that

 gives rise to the claims of other class members, and if his or her claims are based on the same legal

 theory.’” Beattie v. Century Tel., Inc., 511 F.3d 554, 561 (6th Cir. 2007) (quoting In re Am. Med.

 Sys. Inc., 75 F.3d at 1082). “A necessary consequence of the typicality requirement is that the

 representative’s interests will be aligned with those of the represented group, and in pursuing his

 own claims, the named plaintiff will also advance the interest of the class members.” In re Am.

 Med. Sys. Inc., 75 F.3d at 1082. “[F]or the district court to conclude that the typicality requirement

 is satisfied, “a representative’s claims need not always involve the same facts or law, provided

 there is a common element of fact or law.” Beattie, 511 F.3d at 561 (quoting In re Am. Med. Sys.,

 Inc., 75 F.3d at 1082).

        As mentioned above, Defendant argues that the timing of the proposed Class

 Representatives’ purchases defeats typicality. For example, Defendant states that Plaintiff Cosby

 purchased shares on October 27, 2014, and sold on December 5, 2014. [Doc. 132-7 at ¶ 3].

 Defendant states that the Complaint alleges five events or disclosures that allegedly revealed the



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 concealed risk prior to Plaintiff Cosby buying his shares. [Doc. 59 at ¶¶ 199-214]. Defendant

 states that the last date that Plaintiff Montague purchased shares was on August 1, 2014. [Doc.

 132-2 at 3], which was after four of the events alleged in the Amended Complaint. [Doc. 59 at ¶¶

 199-212]. Finally, Defendant states that Plaintiff Ziesman made his only purchase on June 4, 2014,

 [Doc. 132-3 at 4], which was after three of the alleged events in the Complaint. [Doc. 59 at ¶¶

 199-208].

        The Middle District of Tennessee has recently addressed a similar argument. In Weiner v.

 Tivity Health, Inc., No. 3:17-CV-01469, 2020 WL 467783, at *3 (M.D. Tenn. Jan. 29, 2020),

 defendant argued that lead plaintiff’s claims were atypical because he purchased stock on several

 occasions both before and after the alleged truth of defendant’s fraud was revealed. Id. at *3. The

 court noted that defendant’s “argument must be rejected for both legal and factual reasons.” Id.

 With respect to the legal reasons, the court explained, “Legally, purchasing a stock after a

 corrective disclosure that deflates the stock price may not even be relevant to the typicality inquiry

 because ‘a party may believe a stock to be a bargain after such deflation, and may believe that it

 is now trading at a price with defendants’ fraud removed from it.’”             Id. (quoting Ross v.

 Abercrombie & Fitch Co., 257 F.R.D. 435, 446 (S.D. Ohio 2009)) (citation omitted). The court

 continued, “At a minimum, a proposed class representative ‘is [not] as a matter of law categorically

 precluded from meeting the requirements of Rule 23(a) simply because of a post-disclosure

 purchase of the defendant’s company stock,’ and this is ‘particularly so after the stock price has

 been corrected by the market’s assimilation of new information.” Id. (quoting Feder v. Elec. Data

 Sys. Corp., 429 F.3d 125, 138 (5th Cir. 2005). The court further explained:

                The fraud on the market theory presumes that in efficient markets
                all material information, including disclosures of past frauds, will be
                reflected in the security’s price. An investor who purchases a
                security after the disclosure of adverse information still relies on the

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                   fact that the newly released information will be absorbed by the
                   market and therefore reflected in the post-disclosure price. This later
                   purchase does not undercut or diminish the argument that the same
                   investor may have purchased the security pre-disclosure relying on
                   the fact that all information available at the time was reflected in the
                   then current price.

 Id. at *4 (quoting In re DVI Inc. Sec. Litig., 249 F.R.D. 196, 204 (E.D. Pa. 2008)).

         The court also addressed the cases that defendant cited in support of its position. Id. at *4.

 The court found that such cases, including Rocco v. Nam Tai Electronics, Inc., 245 F.R.D. 131

 (S.D. N.Y 2007) (the case that Defendant relies on here), is “against ‘the weight of authority.’” Id.

 (quoting In re Connetics Corp. Sec. Litig., 257 F.R.D. 572, 577 (N.D. Cal. 2009)). Accordingly,

 the Court finds the above authority persuasive, rendering Defendant’s argument not well taken.

        Defendant also asserts that Plaintiff Cosby cannot establish loss causation because he sold

 his stock before any losses. Loss causation is simply the “causal link between the alleged

 misconduct and the economic harm ultimately suffered by the plaintiff.” Ohio Pub. Emp. Ret. Sys.

 V. Fed. Home Loan Mortg. Corp., 830 F.3d 376, 384 (6th Cir. 2016). The Supreme Court has

 held, however, that a plaintiff does not need to prove loss causation at the class certification stage

 in order to invoke Basic’s presumption of reliance. Erica P. John Fund, Inc. v. Halliburton Co.,

 563 U.S. 804, 813 (2011) (“Halliburton I”). In Halliburton I, the Court explained that loss

 causation “addresses a matter different from whether an investor relied on a misrepresentation,

 presumptively or otherwise, when buying or selling a stock.” Id.; see also Weiner, 2020 WL

 467783, at *4 (“Plaintiffs must prove that portion of the price fall that they seek in damages is

 directly attributable to the misrepresentation, so that they do not recover a windfall, [but] they do

 not need to prove it at the certification stage.”) (quoting Ludlow v. BP, P.L.C., 800 F.3d 674, 687-

 88) (5th Cir. 2015)). Thus, it is not necessary at this point that Plaintiff Cosby be able to establish

 loss causation.

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        Finally, Defendant argues that Plaintiffs Montague and Ziesman admitted that they did not

 read Miller Energy’s Form 10-K or Defendant’s audit opinions and that had they read those

 materials, they would have learned of the facts and circumstances. Plaintiff Montague, however,

 also testified that he had never heard any allegation that Miller Energy made poor decisions and

 that he was unaware that the Alaska Assets were overvalued. [Doc. 142-3 at 7-8]. In addition,

 Plaintiff Ziesman testified that he based his decision to purchase on the price target and that he

 believed Miller Energy had sufficient funds to operate its expenses due to the prices. [Doc. 142-4

 at 7-9]. The Court finds Defendant’s arguments are better reserved for the merits of this case and

 not a basis to preclude the class action.

        Accordingly, the Court finds that the proposed Class Representatives have established

 typicality by showing that that they purchased Miller Energy Securities at prices artificially

 inflated by the alleged fraud and that their claims are based on the same legal theories and facts as

 other members.

        iv.     Adequacy

        Plaintiffs assert that the proposed Class Representatives will fairly and adequately protect

 the interests of the class. Plaintiffs state that the proposed Class Representatives sustained their

 losses as a result of the same material misrepresentations and omissions contained and repeated in

 Miller Energy’s financial statements, Defendant’s audit opinions, and the Offering Documents.

 Defendant does not respond to Plaintiffs’ argument.

        A court may not certify a class unless it finds that the representative parties “fairly and

 adequately represent the interests of the class.” Fed. R. Civ. P. 23(a)(4). The Court considers two

 criteria for determining whether the representation of the class will be adequate: (1) The

 representative must have common interests with unnamed members of the class, and (2) it must



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 appear that the representatives will vigorously prosecute the interests of the class through qualified

 counsel. Senter, 532 F.2d at 525 (citing Gonzales v. Cassidy, 474 F.2d 67, 73 (6th Cir. 1973)).

 “The adequacy of representation requirement ‘overlaps with the typicality requirement because a

 class representative has no incentive to pursue the claims of the other class members absent typical

 claims.’” Isabel v. Velsicol, No. 04-2297 DV, 2006 WL 1745053, at *7 (W.D. Tenn. June 20,

 2006) (citing In re Am Med. Sys., Inc., 75 F.3d at 1083).

         Defendant does not dispute that the proposed Class Representatives share common

 interests with other class members, and for the reasons explained above, see supra Part IV, section

 A(1)(ii)-(iii) (“Commonality and Typicality”), the Court finds the proposed Class Representatives

 share common interests with the other class members. Further, the proposed Class Representatives

 filed a Joint Declaration, stating, in part, as follows:

                         We will take an active role in and monitor the litigation for
                         the best interests of the Classes. We will vigorously pursue
                         the claims against [Defendant] to obtain the maximum
                         possible recovery for the Classes.

                         We understand that we owe a duty to all members of the
                         proposed Classes to provide fair and adequate
                         representation. We intend to work with one another and with
                         our chosen counsel to protect the interests of all members of
                         the Classes, and to vigorously prosecute the claims brought
                         forth in this action on behalf of the Classes.

                         We are committed to actively overseeing the effective and
                         efficient prosecution of this action by, among other things,
                         reviewing pleadings, participating in litigation decisions,
                         monitoring counsel, and attending hearings and depositions
                         as necessary. We take the obligations owed by class
                         representatives seriously, will actively monitor our counsel
                         and the litigation, prosecute the action in the best interest of
                         the Classes, and otherwise fulfill the duties we will assume
                         if appointed as Class representatives.




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 [Doc. 107-1 at 2-5]. Based on the above statements, and no evidence in the record to suggest

 otherwise, the Court finds that the proposed Class Representatives will fairly and adequately

 protect the interests of the Class.

         2.      Rule 23(b)(3)

         Pursuant to the requirements of Rule 23(b)(3), Plaintiffs must show that questions of law

 and fact common to class members predominate over any questions affecting only individual

 members. Fed. R. Civ. P. 23(b)(3). In addition, Plaintiffs must show that the class action is

 superior to the other available methods for fairly and efficiently adjudicating the controversy. Fed.

 R. Civ. P. 23(b)(3). The Court will address these requirements separately.



         i.      Predominance

         Plaintiffs state that the claims of the Section 10 Class can be proven by common evidence.

 Acknowledging their requirement to show that they relied on a misleading statement, Plaintiffs

 invoke the Basic and Affiliated Ute. Defendant disagrees and argues that individual issues of

 reliance, damage, and timeliness, will overwhelm common issues. Defendant states that Plaintiffs

 are not entitled to any presumptions, and even if they were, such presumptions have been rebutted.

         The Court will first address whether individual issues of reliance predominate, and then,

 the Court will turn to damages and timeliness.

         a.      Individual Issues of Reliance

         As an initial matter, in order to establish a violation of Section 10, Plaintiffs must show the

 following elements: “(1) a material misrepresentation or omission by the defendant; (2) scienter;

 (3) a connection between the misrepresentation or omission and the purchase or sale of a security;




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 (4) reliance upon the misrepresentation or omission; (5) economic loss; and (6) loss causation.”

 In re Omnicare, Inc. Sec. Litig., 769 F.3d 455, 469 (6th Cir. 2014) (other quotations omitted).

        Because courts recognized that the fourth element (i.e., reliance) would preclude all class

 actions alleging violations of Section 10, the Supreme Court has recognized the Basic presumption

 and the Affiliated Ute presumption, “each of which allows a plaintiff to establish a ‘rebuttable

 presumption of reliance,’ without the need for individual information about each plaintiff.” Grae

 v. Corr. Corp. of Am., 330 F.R.D. 481, 493 (M.D. Tenn. 2019). The Court will start with the Basic

 presumption.

        The Supreme Court explained the Basic presumption, or the fraud on the market

 assumption, as follows:

                The fraud on the market theory is based on the hypothesis that, in an
                open and developed securities market, the price of a company’s
                stock is determined by the available material information regarding
                the company and its business . . . Misleading statements will
                therefore defraud purchasers of stock even if the purchasers do not
                directly rely on the misstatements . . . The causal connection
                between the defendants’ fraud and the plaintiffs’ purchase of stock
                in such a case is no less significant than in a case of direct reliance
                on misrepresentations.

 Basic Inc, 485 U.S. at, 241–42 (quoting Peil v. Speiser, 806 F.2d 1154, 1160–1161 (CA3 1986)).

 The Court held, however, that this presumption is rebuttable. Id. at 250. As stated in Halliburton

 Co. v. Erica P. John Inc., (“Halliburton II”), in order “to invoke the Basic presumption, a plaintiff

 must prove (1) the alleged misrepresentations were publicly known, (2) they were material, (3) the

 stock traded in an efficient market, and (4) the plaintiff traded the stock between when the

 misrepresentations were made and when the truth was revealed.” 573 U.S. 258, 277-78 (2014)

        Defendant argues that the fraud on the market presumption does not apply because

 Plaintiffs have not proven that the stock traded in an efficient market. In addition, Defendant states



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 even if Plaintiffs could establish the presumption, it has rebutted the presumption. With respect to

 the former argument, Defendant asserts that Plaintiffs rely on their expert Chad Coffman

 (“Coffman”) to establish that the market was efficient. Defendant argues that Coffman’s report

 and opinions do not satisfy the minimum requirements of Daubert v. Merrell Dow Pharms., 509

 U.S. 579 (1993). Defendant states that without Coffman’s report and testimony, Plaintiffs have

 no basis for invoking the fraud on the market presumption. 6

        In order to determine whether the market was efficient, courts utilize five factors, known

 as the Cammer Factors, see Cammer v. Bloom, 711 F. Supp. 1264 (D.N.J. 1989), which include as

 follows: (1) whether there was a large average weekly trading volume during the class period; (2)

 whether a significant number of securities analysts followed the company’s stock during the class

 period; (3) whether the company’s stock had market makers; (4) whether the company was entitled

 to file an S-3 Registration Statement; and (5) whether empirical facts showed a cause and effect

 relationship between unexpected corporate events or financial releases and immediate response in

 the stock price. See also Freeman v. Laventhol & Horwath, 915 F.2d 193, 199 (6th Cir. 1990)

 (considering the Cammer Factors to determine whether the market was efficient). Courts have

 also considered other factors, including (1) market capitalization of the company; (2) the bid-ask

 spread of the stock; and (3) institutional ownership. These three factors are known as the Krogman

 Factors pursuant to Krogman v. Sterritt, 202 F.R.D. 467, 478 (N.D. Tx. 2001). Courts explain that

 the above factors “are generally deemed to be an analytical tool rather than a checklist.” Weiner,

 334 F.R.D. at 133 (citing Carpenters Pension Tr. Fund of St. Louis v. Barclays PLC, 310 F.R.D.




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        Contemporaneously with the instant Report and Recommendation, the Court has denied
 Defendant’s Motion to Exclude.
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 69, 83 (S.D. N.Y. 2015); Första AP-Fonden v. St. Jude Med., Inc., 312 F.R.D. 511, 520 (D. Minn.

 2015); Angley v. UTi Worldwide Inc., 311 F. Supp. 3d 1117, 1121 (C.D. Cal. 2018)).

        The Court will now turn to each of these factors.

        (1)     Average Weekly Trading Volume

        With respect to Cammer Factor One, Plaintiffs rely on their expert, Coffman, who states,

 “The average weekly trading volume for Miller Energy Common stock during the Analysis Period

 was 5.04% of shares outstanding, compared to 2.36% for the NYSE and NASDAQ. [Doc. 121 at

 ¶ 29]. Coffman states that “the average weekly trading volume during the Analysis Period was

 2.24 million shares,” which supports the conclusion that the market for this security was efficient

 throughout the Analysis Period.” [Id.]. Coffman also states that with respect to the Preferred

 Stock, the average weekly turnover as a percentage of shares outstanding was 5.16% for the Series

 C Preferred Stock and 7.93% for Series D Preferred Stock. [Id. at ¶ 30]. Defendant’s expert,

 Mukarram Attari, Ph.D. (“Dr. Attari”) does not dispute that the average weekly trading volume for

 the Miller Energy Securities exceeded the standards. See [Doc. 143-2 at 25]. Accordingly, the

 Court finds that this factor weighs in favor of finding that the market for the Miller Energy

 Securities was efficient.

        (2)     Securities Analysts

        With respect to the second factor, “Cammer recognizes that a stock covered by a

 “significant number of analysts” is more likely to be efficient because such coverage implies that

 investment professionals are following the company and making buy/sell recommendations to

 investors.” Barclays PLC, 310 F.R.D. at 79.

        In support of their argument that this factor weighs in favor of finding market efficiency,

 Plaintiffs rely on Coffman, who opines, “During the Analysis Period, there was continuous analyst



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 coverage for Miller Energy.” [Doc. 121 at ¶ 35]. Coffman states that “there were at least 158

 equity analyst reports issued during the Analysis Period and . . . 15 separate firms that had equity

 analysts issue reports on Miller Energy, including major firms such as Brean Capital, SunTrust

 Robinson Humphrey, and Imperial Capital.” [Id.]. Coffman also states that the analyst reports

 covering the common stock provide relevant information for the Preferred Shares. [Id. at ¶ 35, n.

 43]. Coffman cites an analyst report relating to the Preferred Shares directly, “Turning the Corner:

 Kitchen Sink of a Quarter Could Mark A Bottom, New Strategy in Place,” MLV & Co. LLC,

 December 10, 2014. [Id.]. Coffman concludes, “The extensive coverage of Miller Energy by

 securities analysts supports the conclusion that all Miller Energy Securities traded in efficient

 markets throughout the Analysis Period. [Id. at ¶ 35].

        In its Response, Defendant does not dispute the above; however, in its Motion to Exclude

 the Reports and Testimony of Chad Coffman (“Motion to Exclude”), Defendant argues that

 Coffman did not present evidence of analyst coverage with respect to the Preferred Stock. As

 mentioned above, Coffman cites an article and states that the “[a]nalyst reports covering Miller

 Energy Common Stock also provide relevant information for investors in the Preferred Shares”.

 [Doc. 121 at ¶ 35 n. 43]. Accordingly, the Court finds this factor weighs in favor of finding that

 the market is efficient for the Miller Energy Securities.

        (3)     Market Makers

        The court in Cammer explained, “The existence of market makers and arbitrageurs would

 ensure competition of the market mechanism; these individuals would react swiftly to company

 news and reported financial results by buying or selling stock and driving it to a changed price

 level.” 711 F. Supp. at 1286-87; but see Krogman, 202 F.R.D. at 476 (stating that the mere number

 of market makers, “without more is essentially meaningless”) (citing O’Neil v. Appel, 165 F.R.D.



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 479 (W.D. Mich. 1996)). 7        “Nevertheless, this factor can provide reasonable guidance in

 determining whether the Basic presumption applies.” Barclays PLC, 310 F.R.D. at 79.

           Plaintiffs state that there were 73 market makers for the common stock during the Class

 Period.       In addition, Plaintiffs state that while Bloomberg does not provide market-maker

 information for the Preferred Stock, both the Series C and Series D Preferred Stock also traded on

 the NYSE throughout the relevant time period. Plaintiffs state that the presence of such large

 numbers of sophisticated professional investors is yet another indicator of market efficiency.

           Defendant does not argue this factor in its Response, but states in its Motion to Exclude

 that Plaintiffs do not present evidence of the existence of more than one market maker for the

 Series C and Series D Preferred Stock, the minimum required by NYSE.

           With respect to the common stock, there does not appear to be a dispute that Cammer

 Factor 3 supports a finding of efficiency. See [Doc. 143-2 at 61] (Dr. Attari’s Deposition) (stating

 that he does not dispute that the common stock meets the standard under Cammer Factor 3). While

 Dr. Attari disputes the evidence of market makers for the Preferred Securities, the parties do not

 dispute that the Preferred Securities traded on the NYSE. Dr. Attari testifies that the purpose of

 Cammer Factor 3 is “[t]o test whether there were a number of market makers, so that you would

 have a market that was orderly and liquid.” [Doc. 143-2 at 62]; see also [id. at 65-66] (Dr. Attari

 identifying a market maker for the Series C Preferred Shares and explaining that Plaintiff

 Ziesman’s purchases of the Series C Preferred Shares were quickly executed, meaning that the

 market was liquid). As Coffman explains, “The NYSE and NASDAQ are two of the largest and

 most liquid security exchanges in the world with billons of shares traded each day.” [Doc. 121 at



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         In O’Neil, the court noted that what is important is “the volume of shares that they
 committed to trade, the volume of shares they actually traded, and the prices at which they did so.”
 165 F.R.D. at 502.
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 ¶ 42]; see also Willis v. Big Lots, Inc., 242 F. Supp. 3d 634, 654 (S.D. Ohio 2017) (explaining that

 transactions on the NYSE go through a designated market maker and such has been found to satisfy

 this factor) (citing Vinh Nguyen v. Radient Pharms. Corp., 287 F.R.D. 563, 573 (C.D. Cal. 2012)).

 Accordingly, the Court finds that given the above, this factor weighs in favor of finding that the

 market was efficient for the Miller Energy Securities.

           (4)    S-3 Registration Statement

           “The SEC permits a company to file Form S–3 when, in the SEC’s judgment, the market

 for shares in the company is reasonably efficient at processing information.” Barclays PLC, 310

 F.R.D. at 79. The court in Cammer emphasized this factor because the Form S-3 is “predicated

 on the Commission’s belief that the market operates efficiently for these companies, i.e., that the

 disclosure in Exchange Act reports and other communications by the registrant, such as press

 releases, has already been disseminated and accounted for by the marketplace.” Cammer, 711 F.

 Supp. at 1284 (citing SEC Securities Act Release No. 6333, 46 Fed. Reg. 41,902 (1981)) (emphasis

 in Cammer); see also Plumbers & Pipefitters Nat. Pension Fund v. Burns, 967 F. Supp. 2d 1143,

 1163 (N.D. Ohio 2013) (“Given the likelihood that firms filing S–3 forms are actively traded and

 widely followed, courts consider this factor “extremely important in market efficiency

 determinations.”) (quoting In re PolyMedica Corp. Sec. Litig., 453 F. Supp. 2d 260, 268 (D. Mass.

 2006)).

           Plaintiffs state that Miller Energy filed two Form S-3s: one on September 6, 2012, and one

 on October 5, 2012. In addition, Plaintiffs state that Miller Energy was eligible to do so throughout

 the majority of the proposed Class Period, citing to Coffman’s Corrected Report. Coffman states,

 “Other than at the start and towards the end of the Analysis Period, I have no reason to believe that

 Miller Energy was not S-3 eligible throughout the vast majority of the Analysis Period.” [Doc.



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 121 at ¶ 46]. He further explains, “Miller Energy was not timely in filing their 10-K for the FYE

 April 30, 2010, per a letter from the SEC. . . . As required by the SEC, one has to be timely with

 their SEC filings for 12 months in order to be S-3 eligible. Once Miller Energy had become

 eligible, I have found no further evidence that [it was] not S-3 eligible up until nearly the end of

 the Analysis Period on July 14, 2015, when Miller Energy filed another NT 10-K.” [Id. at ¶ 46 n.

 55].

        Defendant does not dispute this factor in its Response, but in its Motion to Exclude,

 Defendant argues that Miller Energy was ineligible to file a Form S-3 Statement at the beginning

 and at the end of the Analysis Period. As mentioned above, Coffman explains that Miller Energy

 did not act in a timely manner with the filing of the 10-K Form, which explains why Miller Energy

 was not eligible at the beginning of the Analysis Period. Further, Coffman explains that Miller

 Energy was eligible throughout the vast majority of the Analysis Period, see Burns, 967 F. Supp.

 2d at 1163 (explaining that the company remained eligible to file an S-3 during the class period),

 and Defendant has not cited to any evidence showing that this factor weighs in favor of finding

 that the market was inefficient. Accordingly, while the Court has considered that Miller Energy

 was not eligible to file the Form S-3 during the last two weeks of the Analysis Period, the Court

 finds this factor weighs in favor of finding market efficiency for the Miller Energy Securities.

        (5)     Price Reaction of Stock to New Information

        In order to satisfy the Fifth Cammer Factor, Plaintiffs must demonstrate “empirical facts

 showing a cause and effect relationship between unexpected corporate events or financial releases

 and an immediate response in the stock price.” Cammer, 711 F. Supp. at 1287. Plaintiffs offer

 Coffman’s event study to support their argument that they have satisfied the Fifth Cammer Factor.

        Specifically, Plaintiffs argue that using an event study, Coffman found a statistically



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 significant cause and effect relationship between the news about Miller Energy and the changes in

 the market price for both the Preferred Stock and the common stock. Plaintiffs submit that

 Coffman’s event study shows that Miller Energy’s share prices reacted rapidly to new and

 unexpected information, and therefore, this factor decisively indicates that the Miller Energy

 Securities traded in an efficient market.

         Defendant has not specifically responded to this argument in its Response [Doc. 129], but

 it asserts that the market was not efficient for the Miller Energy Securities. Defendant states that

 Plaintiffs rely on Coffman’s opinion, but Coffman’s report and opinions do not satisfy the

 requirements of Daubert v. Merrell Doe Pharms., 509 U.S. 579 (1993). Defendant argues that

 Coffman’s opinions cannot be credited for the reasons set forth in its Motion to Exclude.

         Plaintiffs reply that they have demonstrated this factor through Coffman’s event study.

 Plaintiffs state that Coffman empirically demonstrated that once the Preferred Securities first

 traded substantially below par value, they reacted in a statistically significant way to firm-specific

 events that updated the market regarding the ability of Miller Energy to continue paying dividends

 or stay listed on the NYSE. Plaintiffs state that Dr. Attari does not dispute Coffman’s findings,

 but instead, argues that Coffman should have analyzed how Preferred Securities moved in response

 to earnings releases. Plaintiffs insist Dr. Attari is wrong because there is no reason to expect the

 Preferred Securities to move in response to earnings releases absent concern about Miller Energy’s

 liquidity, solvency, ability to pay dividends, or ability to continue trading on an exchange.

 Plaintiffs argue that there are a number of reasons why the Preferred Securities would not be

 expected to react to earnings releases, including that they did not provide any new or material

 information. Plaintiffs submit that academic research demonstrates that there is no expectation in

 the first instance that equity securities react to earnings releases all or even half of the time.



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        As previously mentioned, Defendant’s Response did not set forth the specific reasons for

 finding that the Fifth Cammer Factor supports inefficiency of the market. The Court notes,

 however, that this factor was heavily disputed by the parties in the briefing on Defendant’s Motion

 to Exclude. 8 The Court has already addressed Defendant’s challenges to Coffman’s opinions,

 finding that such challenges do not affect the admissibility of Coffman’s opinions. The Court will

 not repeat the entirety of its Daubert analysis herein; however, the Court will address a few

 arguments that pertain to the class certification issues.

        For instance, in Defendant’s Motion to Exclude, Defendant takes issue with Coffman’s

 data and analysis of the common stock. Specifically, Coffman evaluated whether the common

 stock reacted to earnings announcements in a manner that is significantly different from how the

 stock moved on days with no Miller Energy-related news. [Doc. 121 at ¶ 50]. He also analyzed

 the extent to which large price movements in Miller Energy’s common stock on dates other than

 earnings announcements could be explained by newly released information. [Id.]. According to

 his study, he identified seventeen (17) regular quarterly earnings that Miller Energy issued during



        8
           The Court notes that the parties also disputed in the filings related to Defendant’s Motion
 to Exclude whether establishing Cammer Factor Five is necessary in order to establish market
 efficiency. In the Memorandum and Order on Defendant’s Motion to Exclude, the Court noted
 several courts have found that Cammer Factor Five is necessary, while other courts have found
 otherwise. It appears that most courts utilize the Cammer Factors as analytical tools as opposed
 to a checklist. Weiner v. Tivity Health, Inc., 334 F.R.D. 123, 133 (M.D. Tenn. 2020) (“Indeed, the
 Sixth Circuit has not mandated use of those factors, and even in those cases where the factors are
 utilized, they are generally deemed to be an analytical tool rather than a checklist. “); see also
 Monroe Cty. Employees' Ret. Sys. v. S. Co., 332 F.R.D. 370, 385 (N.D. Ga. 2019) (“Accordingly,
 district courts around the country routinely find market efficiency regardless of the
 fifth Cammer factor.”) (collecting cases); Beaver Cty. Employees' Ret. Fund v. Tile Shop Holdings,
 Inc., 2016 WL 4098741, at *10–11 (D. Minn. July 28, 2016) (holding plaintiffs satisfied their
 burden of establishing defendant’s stock traded in an efficient market where all of the Cammer
 and Krogman factors weighed in favor of market efficiency except the Fifth Cammer Factor,
 reasoning that requiring all the Cammer factors to be met would change the factors into a
 “requirement” or “necessity” which “has not been explicitly endorsed by the courts”).

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 the Analysis Period, three (3) of which resulted in statistically significant price movements above

 the 95% confidence level. [Id. at ¶ 61]. He then compared these results against the 316 days

 during the Analysis Period when there was no Miller Energy-related news, analyst reports

 published, or SEC filings issued. [Id. at ¶ 62]. He states that of these 316 days, there were fourteen

 (14) statistically significant price movements. [Id.]. Therefore, he explains that during the

 Analysis Period, there was a statistically significant price reaction at the 95% confidence level on

 17.65% of the earnings announcements, but when compared to days with no Miller Energy-related

 news, he observed statistically significant reactions 4.43% of the time. [Id.]. He explains that the

 4.43% was expected based on randomness alone. [Id.]. He concludes that such findings are

 powerful scientific evidence of a cause and effect relationship between new, publicly released

 information concerning Miller Energy and the changes in the price of the common stock. [Id.].

 He also notes that the average magnitude of stock price movement on earnings announcement days

 was about 1.7 times higher than on dates with no news. [Id. at ¶ 63]. Coffman concludes that his

 event study demonstrates a clear cause and effect relationship between new material news and

 changes in the market price of Miller Energy common stock. [Id. at ¶ 67].

        In its Motion to Exclude, Defendant argued that the data and analysis do not support

 Coffman’s conclusion that the market is efficient. Defendant explained that Coffman supports his

 conclusions by relying upon three (3) earnings announcements out of seventeen (17), which is

 17.65%. Defendant stated that such a low percentage cannot show a cause and effect relationship,

 citing cases where courts found an insufficient number of news days followed by a market reaction

 does not establish market efficiency. See Freddie Mac, 281 F.R.D. 174, 180 (S.D. N.Y. 2012)

 (expert’s showing that series Z responded to material news 28% of the time is insufficient to satisfy

 plaintiff’s burden of proving Cammer’s cause and effect relationship); George v. China Auto. Sys.,



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 Inc., No. 11 CIV. 7533 KBF, 2013 WL 3357170, at *12 (S.D.N.Y. July 3, 2013) (“Even assuming

 that the methodology was proper, showing that only seven out of sixteen days resulted in a market

 reaction is an insufficient foundation upon which to pronounce market efficiency . . . To state the

 obvious, seven out of 16 is less than 50%”).

        The Court notes, however, that other courts have found that plaintiffs satisfied this factor

 at less than 50%. For instance, in Angley v. UTi Worldwide Inc.,, the court found that plaintiffs

 had satisfied Cammer Factor Five based on their expert’s event study, which found the number of

 significant abnormal returns on news days was 4/36 or 11.1% versus those on no-news days, which

 was 5/194 or 2.6%. 311 F. Supp. 3d 1117, 1123 (C.D. Cal. 2018). The defendants argued that the

 event study was unreliable and flawed because it showed that the stock had a statistically

 significant excess return on only 11.1% of news days, which defendants contended was insufficient

 to support a finding of market efficiency. Id. The court disagreed and ultimately found that

 plaintiffs had established Cammer Factor Five. Id. at 1126.

        Similarly, while the Court agrees that the percentage is not high, the Court does not find

 that the percentage supports a finding against market efficiency. As Coffman explains in his

 Rebuttal Expert Report:

                Defendant makes note of that fact that I found that less than 50% of
                the earnings announcements had a statistically significant price
                movement, but this is an irrelevant threshold . . . Indeed, there are
                numerous reasons why many earnings announcements may not be
                statistically significant that are entirely consistent with market
                efficiency. For example, as mentioned in my Report and as Dr.
                Attari testified, the information released may have been largely
                consistent with expectations, there may have been a mix of positive
                and negative information, or the market may be focused largely on
                other factors . . . The financial economics literature is clear that there
                is no theoretical or mathematical reason to believe that the fraction
                of news days associated with statistically significant returns should
                exceed fifty percent in an efficiency market (See Tabak, David.
                “What We Should Expect When Testing for Price Response to News

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                in Securities Litigation.” NERA Economic Consulting, 2016 pp. 1-
                17). Dr. Attari further acknowledges that he does not know of, and
                has not calculated, an appropriate threshold and admits that should
                a threshold be calculated, it may even be less than fifty percent . . .
                The fact that less than fifty percent of earnings announcements were
                associated with statistically significant price movements for Miller
                Energy Common Stock does not impact my finding that there was a
                cause and effect relationship between new news and Miller Energy
                Common Stock.

 [Doc. 142-1 at ¶ 7 n. 16]. Thus, while the Court finds the above numbers are not a strong showing

 in Plaintiffs’ favor, the Court finds that they nevertheless weigh in favor of finding market

 efficiency.

        In its Motion to Exclude, Defendant also argued that the data from Coffman’s event study

 does not support his conclusions that the market for the Preferred Stock was efficient. Defendant

 stated that Coffman found that there were no statistically significant movements in the prices of

 the Preferred Stock in response to the three (3) earnings announcements, which does not support

 his conclusion that there is a cause and effect relationship between Miller Energy’s earnings

 announcements and the price of the Preferred Stock. In addition, Defendant asserted that Coffman

 tested the statistical significance of the price movements prior to October 15, 2014, but excluded

 this data from his event study. Defendant states that Dr. Attari reviewed Coffman’s backup data

 and found that zero (0) out of eleven (11) earnings announcements were followed by a statistically

 significant change in price.

        As explained in the undersigned’s Memorandum and Order on Defendant’s Motion to

 Exclude, Coffman explained why he chose October 15, 2014, as his starting date. Specifically,

 Coffman opines that the market prices fell to a new low that was substantially below par value,

 which signaled that Miller Energy may default. He states that prior to this date, the market price

 for the Preferred Securities would not be expected to respond to earnings events because they do



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 not fundamentally impact the perceived chance of default. Courts recognize that with respect to

 preferred securities, there may be little effect on the price until there are signs of the company

 defaulting. See In re Countrywide Fin. Corp. Sec. Litigation, 273 F.R.D. 586, 615 (C.D. Cal.

 2009) (“Until the financial situation becomes severe enough that the issuer is likely to default,

 there is relatively little effect on debt price.”). Dr. Attari even acknowledged during his deposition

 that information pertaining to revenue, earnings, and profitability are important to preferred

 shareholders but not to the same degree as holders of common stock. [Doc. 143-2 at 136]. Thus,

 the Court finds Coffman’s start date of October 15, 2014, appropriate under these facts.

        Defendant also raises issues with Coffman’s conclusion that the Preferred Stock operated

 in an efficient market. Defendant states that according to Coffman, out of three (3) earnings

 announcements, zero (0) impacted the price of the Preferred Securities. Thus, Defendant states

 that Coffman’s analysis does not support the conclusion that the Preferred Securities operated in

 an efficient market. As Coffman noted, however, he also looked at news that was related to the

 ability of Miller Energy to continue paying preferred stock dividends or remain listed on the

 NYSE. [Doc. 121 at ¶ 78]. Coffman considered announcements of the intent to continue to pay

 or suspend the dividend, disclosure of a “Wells Notice” associated with Miller Energy’s valuation

 of the Alaska Assets, the warning that there was substantial doubt about Miller Energy’s ability to

 continue as a going concern, and the delisting of the Preferred Securities from the NYSE. [Id.].

 Coffman states that for example, on May 6, 2015, Miller Energy announced that its Board of

 Directors voted to defer quarterly payments of dividends for the Series C and Series D Preferred

 Stocks. [Id.]. Coffman found that “[i]n response, the market price of Miller Energy Series C

 Preferred Stock decreased 34.89% compared to the predicted return of 0.17% and that Miller

 Energy Series D Preferred Stock also decreased 28.40% compared to the predicted return of



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 0.27%.” [Id.]. Thus, while the Court has considered the earnings announcements, especially in

 light of Coffman’s observation that after October 15, the Preferred Securities would react similar

 to the common stock with respect to certain news (i.e., earnings announcements), the Court has

 also considered that the Preferred Securities reacted to news that affected the ability of Miller

 Energy to continue to pay dividends. Accordingly, the Court finds Defendant’s arguments not

 well taken.

        Further, Defendant argues that with respect to Coffman’s event studies, he did not analyze

 whether the observed price changes were reactions to other Miller Energy events or disclosures

 that occurred around the same dates as the earnings releases that Coffman studied. Coffman

 testified that he looked at other events but could not recall specifics during his deposition.

 Defendant, however, has not pointed the Court to any other evidence showing that the other events

 or disclosures caused the price changes. See [Doc. 127 at 19-2; Doc. 159 at 16] (“Defendant’s

 Motion to Exclude” and “Defendant’s Reply Brief to its Motion to Exclude”).

        Further, Defendant criticizes Coffman because he relied on the ICE Oil Index, although his

 Initial Report cites to the NYMEX Oil Index. The Court has addressed Defendant’s criticism in

 its Memorandum and Order on Defendant’s Motion to Exclude.               As the Court previously

 explained, Dr. Attari acknowledges that “both the NYMEX and ICE futures contracts are designed

 to track the price of West Texas Intermediate oil on the maturity date of the contract.” [Doc. 129-

 1 at ¶ 38]. The Court also noted that after Coffman’s error was brought to his attention, he

 explained, “[S]ince both of these indices are meant to generally track the same underlying

 commodity, the prices are highly consistent . . . The correlation coefficient between the indices is

 over 97%.” [Doc. 142-1 at ¶ 40]. Coffman continues that using the NYMEX index had no impact

 on his conclusions. [Id. at ¶ 41]. Coffman concludes, “More specifically, for the news days I



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 analyze, the use of the NYMEX Oil Futures Index does not change the proportion of days that are

 significant, changes the average absolute return by 0.05% and 0.11% for the Series C Preferred

 Stock and Series D Preferred Stock respectively, and does not impact the average volume of shares

 traded. All of the comparisons against the ‘no news’ days remain statistically significant at or

 above the 95% significance level.” [Id.].

        Finally, the Court notes that in explaining his use of an oil price index instead of an index

 of industry peers, Coffman states as follows:

                Nevertheless, I performed robustness checks to make sure that my
                ultimate conclusions are not sensitive to the choice of an oil price
                index instead of an index industry of peers. In particular, I
                considered whether my conclusions were sensitive to (1) use of an
                industry index instead of an oil price index or (2) inclusion of an
                industry index in addition to the oil price index. The industry index
                I considered was the Dow Jones US Exploration and Production
                Index, which Miller Energy compares itself against in its 10-Ks in
                2012, 2013, and 2014. However, several companies included in the
                Dow Jones US Exploration and Production Index follow a different
                business model than Miller Energy. For instance, several firms
                operated refineries, fueling centers, and processing plants while
                Miller Energy was solely focused on oil and natural gas exploration
                and production. I, nonetheless, found that performing these
                robustness checks did not materially alter the results or conclusions
                I make throughout this report.


 [Doc. 121 at ¶ 53 n. 63]. Accordingly, the Court finds Defendant’s argument not well taken.

        Defendant also challenged Coffman’s calculation for the returns with respect to the oil

 price index for multiple days in Coffman’s event study. As explained in the Court’s Memorandum

 and Order, the experts dispute how to calculate returns on futures contracts. Dr. Attari opines that

 the impact of incorrectly calculating the return of the ICE Oil Futures Index was 55 days out of

 1,105. [Doc. 129-1 at 97]. As Coffman explains, however, that even if he had undertaken the

 procedure suggested by Dr. Attari, Coffman’s conclusion of a cause and effect relationship

 between new news and changes in the market price of Miller Energy Preferred Securities is not

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 impacted. [Doc. 142-1 at ¶ 45]. Coffman states that “the use of Dr. Attari’s proposed method

 changes the average absolute return by an inconsequential 0.01% and 0.10%, respectively, when

 analyzing the dividend adjusted returns for Miller Energy Series C and Series D Preferred Stock.

 All of the comparisons against the “no news” days remain statistically significant at or above the

 95% significance level for the Miller Energy Preferred Securities.” [Id.]. Accordingly, the Court

 does not find Defendant’s criticism affects Coffman’s event study.

        Defendant also states that Coffman incorrectly computed the returns of the Preferred Stock

 by excluding dividend payments. As the Court explained in the Memorandum and Order with

 respect to Defendant’s Motion to Exclude, Coffman revisited his analysis and found that the

 incorporation of dividend adjusted returns with respect to the Series C Preferred Stock did not

 change the portion of news day with significant returns, changed the average absolute abnormal

 return for those days by a negligible 0.02%, and did not affect the volume. [Doc. 142-1 at ¶ 38].

 With respect to the Series D Preferred Stock, Coffman states that there was no change whatsoever

 to the proportion of news days with significant returns, or the volume, and the average absolute

 abnormal return changed by 0.02%. [Id.]. Dr. Attari has not suggested that the inclusion of the

 dividend adjustments impacts Coffman’s analysis. Thus, the Court finds Defendant’s argument

 not well taken.

        Accordingly, the Court has reviewed the event study in this case, and for the reasons

 explained above and in the Court’s Memorandum and Order on Defendant’s Motion to Exclude,

 the Court finds Coffman’s analysis supports a finding that Plaintiffs have established the Fifth

 Cammer Factor.




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        (6)     Market Capitalization

        “The markets for companies with higher market capitalizations . . . are more likely to be

 efficient.” Barclays PLC, 310 F.R.D. at 81. Plaintiffs state that the market capitalization for Miller

 Energy common stock was $0.2 billion on April 30, 2013, and $0.4 billion on January 31, 2014, a

 period in which at least 26% of the firms traded on the NYSE and NASDAQ had lower market

 capitalization. Plaintiffs state that according to Coffman’s opinion, it is most logical to consider

 market capitalization of Miller Energy as a whole for the Series C and Series D Preferred Stock

 because the size of the firm affects factors like analyst coverage and the amount of news. [Doc.

 121 at ¶ 84]. Coffman opines, “[W]hen factoring in the Preferred Stocks, Miller Energy’s

 combined market capitalization fell between the 16th and 41st percentile of the combined NYSE

 and NASDAQ markets for the applicable quarters during the Analysis Period.” [Id.]. Coffman

 concludes, “Given that the market capitalization [of the] Miller Energy Common Stock and Miller

 Energy as a whole was in the mid-quartile range relative to other publicly traded companies, this

 factor is supportive of market efficiency for the Miller Energy Securities.” [Id. at ¶ 85].

        In its Motion to Exclude, Defendant generally criticizes Coffman for not analyzing market

 capitalization of the Preferred Stock separately. As Coffman explains, however, “The purpose of

 analyzing a company’s market capitalization is not to see whether a particular security of a

 company is well capitalized, but to see whether the company as a whole is well capitalized. [Doc.

 142-1 at ¶ 33]; see Krogman, 202 F.R.D at 478 (noting that market capitalization is an indicator

 of market efficiency “because there is a greater incentive for stock purchasers to invest in more

 highly capitalized corporations.”). Accordingly, the Court finds this factor weighs in favor of

 market efficiency.




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        (7)     Bid-Ask Spread

        As explained in Krogman, “The bid-ask spread is the difference between the price at which

 investors are willing to buy the stock and the price at which current stockholders are willing to sell

 their shares.” Krogman, 202 F.R.D. at 478. “A large bid-ask spread is indictive of an inefficient

 market, because it suggests that the stock is too expensive to trade.” Id.

        In the instant matter, Plaintiffs rely on Coffman’s opinions that the bid-ask spread was low

 for the Miller Energy Securities. [Doc. 121 at ¶¶ 87-89]. With respect to the common stock,

 Coffman states that “the time-weighted average percentage bid-ask spread for Miller Energy

 Common Stock in each month was between 0.1535% and 1.7477%.” [Id. at ¶ 87]. Coffman

 explains, “Prior to the market prices of Miller Energy Securities substantially falling ahead of its

 ultimate delisting and bankruptcy, the bid-ask spread was below the average bid-ask spread of a

 random sample of 100 other common stocks trading on the NYSE and NASDAQ in December

 2014.” [Id.]. Coffman continues that in December 2014, Miller Energy Common Stock had a

 monthly average bid-ask spread of 0.8115%, while a randomly selected group of 100 other

 common stocks on the NYSE and NASDAQ had an average bid-spread of 0.76%.” [Id.]. Coffman

 opines, “Although this spread is larger than the average of the 100 other common stocks, it is a

 relatively small difference, and is due particularly to the price of the common stock substantially

 falling ahead of the [Miller Energy’s] bankruptcy.” [Id.].

        With respect to the Series C Preferred Shares, Coffman states that “the time-weighted

 average percentage bid-ask spread for Miller Energy Series C Preferred Stock in each month was

 between 0.2452% and 8.5394%.” [Id. at ¶ 88]. Prior to Miller Energy’s delisting and bankruptcy,

 the bid-ask spread was about 0.76%, the average bid ask spread of those 100 common stocks

 trading on the NYSE and NASDAQ. [Id.]. Similar to the common stock, Coffman states that the



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 bid-ask spread jumped past that average for the last eight months due to the falling market price

 of the Series C Preferred Stock. [Id.]. Coffman’s findings with respect to the Series D Preferred

 Stock is similar to the Series C Preferred Stock, except “the time-weighted average percentage

 bid-ask spread . . . in each month was between 0.3192% and 8.0119%. [Id. at ¶ 89]. Coffman

 concludes that the Miller Energy’s Securities’ bid-ask spreads support a finding of efficiency. [Id.

 at ¶¶ 87-89].

        Defendant does not dispute this factor in its Response but argues in its Motion to Exclude

 that Coffman does not analyze that the bid-ask spreads for the Preferred Securities were above

 average at the end of the proposed Class Period. In his Rebuttal Report, Coffman states, “The

 increase in the bid-ask spreads of Miller Energy Preferred Securities were driven by declines in

 price, not because the markets generally became less efficient. As the prices of the Preferred

 Securities fell to low-levels, the bid-ask spreads as a percentage of the shares’ prices increased

 because price level is an important determinant of bid-ask spread.” [Doc. 142-1 at ¶ 34].

 Accordingly, given the above, the Court finds this factor weighs in favor of market efficiency with

 respect to the Miller Energy Securities.

        (8)      Institutional Ownership

        A large number of institutional owners demonstrates an efficient market. Bennett v. Sprint

 Nextel Corp., 298 F.R.D. 498, 511 (D. Kan. 2014). As Coffman explains in his Corrected Report,

 “Institutional investors are considered to be sophisticated and well-informed with access to most

 publicly available information for stocks that they own. These investors include mutual funds,

 pension funds, investment banks and other types of large financial institutions that have substantial

 resources to analyze the securities they purchase for their portfolios.” [Doc. 121 at ¶ 90].




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        Plaintiffs argue that the high level of institutional ownership coupled with high trading

 volumes support a conclusion of marking efficiency. Specifically, in Coffman’s Corrected Report,

 he states that 181 institutions reported owning Miller Energy Common Stock during the Analysis

 Period, holding, on average, over 30% of the public float. [Id.]. Coffman concludes, “This

 substantial level of institutional ownership of Miller Energy Common Stock during the Analysis

 Period coupled with high trading volume further supports a conclusion of market efficiency.” [Id.].

 With respect to the Preferred Securities, Coffman states that institutions held them, but the data is

 limited. [Id. at ¶ 90 n. 122]. Coffman explains that the SEC publishes a list of Section 13F

 securities quarterly, but for all quarterly lists starting in the third calendar quarter of 2012 and at

 the end of the Analysis Period, the Preferred Securities were not labeled as Section 13F securities,

 and therefore, institutions were not required to report their holdings of the Preferred Securities.

 [Id.]. Coffman states that this is not uncommon for preferred securities in general, explaining that

 only 85 of the 17,395 securities identified as 13-F securities were preferred securities in the list for

 the second quarter of 2015. [Id.].

        The parties do not dispute that the number of institutional investors in the common stock

 support efficiency. See [Doc. 143-2 at 83] (Dr. Attari Deposition) (“There were a number of

 institutional owners in the common stock over the class period.”). With respect to the Preferred

 Securities, the data is simply not available. [Id. at 84] (Dr. Attari Deposition) (explaining that he

 had also tried to obtain the information, but it was not available). The Court notes, however, that

 in Coffman’s Rebuttal Expert Report, he names several institutions that purchased the Preferred

 Stock. Specifically, he states that reporting institutions that held Miller Energy Series C Preferred

 Stock included Brick Asset Management Inc., Crow Point Partners, LLC, Quadrant Capital Group,

 Spirit of America Management Corp., Scholtz & Co LLC, Swiss-Asia Financial Services Pte Ltd



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 and Theme/Value Investments. [Doc. 142-1 at ¶ 35]. With respect to the Series D Preferred Stock,

 Coffman names Wells Fargo and Co., Spirit of America Management Corp., Sun Life Financial

 Inc., and Teachers Insurance & Annuity of America. [Id.]. Coffman concludes, “Therefore, the

 limited data available on institutional holdings of Miller Energy Preferred Securities does not

 suggest market inefficiency. At worst, the limited amount of data on the institutional holdings of

 the Miller Energy Preferred Securities renders this factor agnostic regarding this efficiency factor.”

 [Id.]. Accordingly, the Court finds this factor weighs in favor of finding that the market was

 efficient for the Common Stock. With respect to the Preferred Stock, the available data is limited,

 so this factor is neutral. 9

     (9)          Autocorrelation

           Autocorrelation “generally refers to the correlation between two observations of the same

 series at different dates.” Burns, 967 F. Supp. 2d at 1160 (citation omitted). “A security exhibits

 autocorrelation if the change in price of the security on a given day provides an indication of what

 the change in price for the security will be on the following day.” Id. (quoting In re DVI, Inc. Sec.

 Litig., 249 F.R.D. 196, 213 (E.D. Pa. 2008)); see also Petrie v. Elec. Game Card, Inc., 308 F.R.D.

 336, 356 (C.D. Cal. 2015) (“The more likely past price movement is to predict future price

 movement, the less efficient a market is likely to be because an efficient market incorporates

 information quickly into the first day’s price, whereas an inefficient market would not fully digest



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           As noted in Petrie v. Electronic Game Card, Inc., “[F]ew courts have explained how to
 evaluate how many institutional investors constitutes a ‘large’ number.” 308 F.R.D. 335, 357
 (C.D. Cal. 2015). While Coffman has identified several institutional investors with respect to the
 Preferred Securities, there is simply no information on the exact number of the institutional
 investors or how many shares of Preferred Securities that they held. See id. (finding market
 efficiency when institutional investors held between 10.9% and 33.4% of defendant’s outstanding
 stock); see also Lumen v. Anderson, 280 F.R.D. 451, 460 (W.D. Mo. 2012) (finding that 70 to 140
 institutional investors who held between 8 to 20 million shares out of 28 million outstanding shares
 weighed in favor of finding market efficiency).
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 the information until later.”). “The presence of autocorrelation in a security’s price may indicate

 that a security trades in an inefficient market.” Burns, 967 F. Supp. 2d at 1160 (citing DVI, 249

 F.R.D. at 213).

        Plaintiffs assert that Coffman found no evidence of autocorrelation for either the common

 stock or the Preferred Stock, and therefore, this factor supports the conclusion that the Miller

 Energy Securities traded in an efficient market.            In order to determine the existence of

 autocorrelation, Coffman conducted a regression analysis, which tests whether on average the

 abnormal return from the previous day has a statistically significant effect on the abnormal return

 today. [Doc. 121 at ¶ 93]. Coffman explains that if the previous day’s abnormal return has no

 statistically significant predictive power, then there is no evidence of autocorrelation. [Id.]. With

 respect to the common stock, Coffman states that the coefficient for the Analysis Period is not

 statistically significant at the 95% confidence level. [Id. at ¶ 94]. He makes similar findings with

 respect to the Series C Preferred Stock. [Id. at ¶ 95]. Finally, with respect to the Series D Preferred

 Stock, Coffman states as follows:

                   While I did find statistically significant autocorrelation for Series D
                   Preferred Stock across the Analysis Period, the quarterly
                   autocorrelation analysis demonstrates that there is no consistent
                   pattern that would suggest an arbitrage opportunity because the sign
                   of the autocorrelation coefficient is not even consistently the same
                   sign. In other words, in order to profit from autocorrelation, the
                   direction of the autocorrelation needs to be consistent. In this case,
                   the sign changes from quarter to quarter. Therefore, the statistical
                   evidence is inconsistent with the presence of systematic
                   autocorrelations that would allow a trader to consistently profit.

 [Id. at ¶ 96]. Coffman concludes that his autocorrelation analysis supports a finding of market

 efficiency with respect to the Miller Energy Securities. [Id. at ¶¶ 94-96].

        Defendant did not dispute this factor in its Response, but Defendant argued in its Motion

 to Exclude that this factor weighs in support of finding that the market for the Preferred Stock was

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 inefficient. Defendant relied on Dr. Attari’s opinion that Coffman ran the least sophisticated test.

 [Doc. 129-1 at ¶ 161].        Dr. Attari states that there are three problems with Coffman’s

 autocorrelation opinions: (1) his analysis cannot help establish semi-strong form efficiency, (2)

 Coffman’s autocorrelation analysis checks for a very limited form of predictability and the results

 only inform about the type of predictably that Coffman analyzes, and (3) Coffman’s results show

 that the Series D Preferred Stock were autocorrelated at a highly statistically significant level over

 the full Analysis Period and that the Series C Preferred Stock was autocorrelated at a highly

 statistically significant level for several of the quarterly sub-periods. [Id. at ¶¶ 164-65].

        The Court has considered Coffman’s explanation for his calculations and finds Coffman’s

 explanation well-reasoned. Coffman states as follows:

                First, while a simple test, the test I perform is a standard method to
                assess autocorrelation. In fact, Dr. Attari has testified previously that
                my method is the “most common” test for autocorrelation. It is
                especially relevant to the context of market efficiency, because it is
                the one factor that tests for whether there is a systematic bias in the
                movement of returns. For example, if a stock regularly responded
                only partially to news, it would yield consistent positive
                autocorrelation under my test. Likewise, if the market consistently
                overreacted, that would induce systematic negative autocorrelation.
                While Dr. Attari speculates that there could be more complex ways
                in which the stock is autocorrelated, he does not provide any such
                evidence. In other words, if yesterday’s stock price movement is not
                a consistent predictor of today’s price movement, there is no a priori
                reason to believe that there is a relationship with multiple prior days.

 [Doc. 142-1 at ¶ 25]; see also Billhofer v. Flamel Techs., S.A., 281 F.R.D. 150, 160 (S.D.N.Y.

 2012) (“The autocorrelation analysis tests for the presence of a statistical relationship between

 price changes (also known as returns) on successive trading dates.”).

         Further, Defendant argues that the results of Coffman’s autocorrelation analysis show that

 the returns for the Series D Preferred Stock are correlated at a highly statistically significant level,

 evidencing that the markets for these securities were not efficient. However, as Coffman explains

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 with respect to the Series D Preferred Stock, there was no consistent pattern that would suggest an

 arbitrage opportunity because the sign of the autocorrelation coefficient is not even consistently

 the same sign. [Doc. 121 at ¶ 96]. Coffman states that “in order to profit from autocorrelation,

 the direction of the autocorrelation needs to be consistent,” but here, “the sign changes from quarter

 to quarter.” [Id.]. Dr. Attari acknowledged that the autocorrelation coefficient switched from

 negative to positive and back throughout the Class Period for both the Series C and Series D

 Preferred Stock. [Doc. 143-2 at 92-93]. Contrary to Coffman, however, Dr. Attari surmised that

 some sort of complex arbitrage opportunity could take place where the autocorrelation coefficient

 reverses regularly, but he admitted he could not explain it because he had not “done the work for

 it.” [Id.]. Accordingly, the Court finds Defendant’s arguments not well taken.

        The Court has weighed the relevant factors as discussed above, and the Court finds that

 Plaintiffs have established that the market for the Miller Energy Securities was efficient. However,

 as noted above, Defendant may present evidence to rebut this presumption.

        Specifically, Defendant argues that even if Plaintiffs have established the fraud on the

 market presumption, it has successfully rebutted the presumption. In Basic, the Supreme Court

 explained that “any showing that severs the link between the alleged misrepresentation and . . .

 the price received (or paid) by the plaintiff . . . will be sufficient to rebut the presumption of

 reliance” because “the basis for finding that the fraud had been transmitted through market price

 would be gone.” 485 U.S. at 248. In explaining the rebuttable presumption, the Supreme Court

 later clarified, “Price impact is thus an essential precondition for any Rule 10b-5 class action.

 While Basic allows plaintiffs to establish that precondition indirectly, it does not require courts to

 ignore a defendant’s direct, more salient evidence showing that the alleged misrepresentation did

 not actually affect the stock’s market price and, consequently, that the Basic presumption does not



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 apply.” Halliburton II, 572 U.S. at 282. “Because Defendants have the burden of showing an

 absence of price impact, they must show that price impact is inconsistent with the results of their

 analysis. Thus, that an absence of price impact is consistent with their analysis is

 insufficient.” Ohio Pub. Employees Ret. Sys. v. Fed. Home Loan Mortg. Corp., No. 4:08CV0160,

 2018 WL 3861840, at *13 (N.D. Ohio Aug. 14, 2018) (quoting Aranaz v. Catalyst Pharmaceutical

 Partners, Inc., 302 F.R.D. 657, 672 (S.D. Fla. 2014)) (emphasis in original).

         Defendant argues that it has rebutted the Basic presumption in several ways. First,

 Defendant states that the evidence shows that its alleged misrepresentations did not artificially

 inflate the price of Miller Energy’s Securities. Second, Defendant states that out of the sixteen

 (16) events and disclosures that Plaintiffs alleged leaked out the truth, the two that are most closely

 tied to the allegation that the Alaska Assets were overvalued were not followed by statistically

 significant price declines. Finally, Defendant states that the evidence from the proposed Class

 Representatives and Lead Plaintiffs shows that they would have bought the stock even if they knew

 that the price was tainted by fraud.

         Plaintiffs state that Defendant’s challenge fails in two key respects. First, Plaintiffs state

 that Defendant focuses exclusively on price impact at the time of the misrepresentation and ignores

 the price impact at the time of the corrective disclosures. Plaintiffs argue that Defendant’s

 argument distorts the relevant legal standard because price impact is demonstrated either through

 evidence that a stock’s price rose in a statistically significant manner after a misrepresentation or

 that it declined in a statistically significant manner after a corrective disclosure.

         Second, Plaintiffs submit that Defendant offers no evidence of a lack of price impact.

 Plaintiffs argue that they have alleged that the stock price fell in response to numerous corrective

 disclosures, and Dr. Attari’s report fails to address the price impact of the corrective disclosures.



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 Plaintiffs state that Dr. Attari concedes that he did not conduct a negative causation analysis and

 has no opinion on whether Miller Energy’s share price fell in response to the alleged corrective

 disclosures. Plaintiffs assert that Defendant has acknowledged that its first false and misleading

 audit report preceded a statistically significant increase of nearly 60% in the share price. Plaintiffs

 argue that while it is not their burden to show price impact, Coffman demonstrated that

 Defendant’s first audit report did cause significant price inflation.

        As mentioned above, Defendant argues that any alleged misrepresentation did not

 artificially inflate the price of the Miller Energy Securities, and therefore, there is a lack of price

 impact. 10 Defendant relies on Coffman’s testimony, wherein the following exchanged occurred:

                Q.      You understand that [P]laintiffs’ theory in this case is that
                        KPMG’s audit opinions helped artificially inflate the price
                        of Miller Energy securities?

                A.      That’s my understanding of their claim, yes.


        10
           The parties argue in footnotes whether price maintenance theory is viable. See [Doc.
 129 at 14 n. 5] and [Doc. 141 at 21 n. 17]. “Price maintenance theory” is the “theory that a
 misrepresentation can have a price impact not only by raising a stock’s price but also by
 maintaining a stock’s already artificially inflated price.” Willis v. Big Lots, Inc., 242 F. Supp. 3d
 634, 656 (S.D. Ohio 2017). While some courts have rejected this this theory, see Ohio Pub.
 Employees Ret. Sys., 2018 WL 3861840, (“Lead Plaintiff cannot meaningfully argue that the
 misrepresentations artificially maintained the price of the stock until risks materialized, as that
 argument proves too much at the class certification stage, where OPERS has the burden of
 persuasion as an evidentiary matter others have approved it.”), others have approved it. See Willis,
 242 F. Supp. 3d 634 (finding that the price maintenance theory “is consistent with the Supreme
 Court’s discussions on price impact”).

        More recently, however, the Sixth Circuit Court of Appeals declined a defendant’s petition
 to appeal the district court’s interlocutory order certifying a class action. In re CoreCivic, Inc.,
 No. 19-0504, 2019 WL 4197586, at *1 (6th Cir. Aug. 23, 2019). In doing so, the Court stated that
 while defendant challenges the framework applied by the district court as it relates to the Basic
 presumption and “the legal standard for rebutting the presumption of reliance when plaintiffs are
 proceeding under a price maintenance theory, case law supports the legal standard the district court
 applied.” Id. (citing Ohio Pub. Employees Ret. Sys. v. Fed. Home Loan Mort., Corp., 830 F.3d
 376, 385 (6th Cir. 2016)).


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                Q.      And in Exhibit 7, and in our discussion today on Miller
                        Energy’s common stock, you evaluated whether there was a
                        statistically significant price movement in response to the
                        disclosure on Miller Energy’s year-end results for each of
                        those years ending April 30, 2011, ’12, ’13, and ’14; correct?

                A.      Yes.

                Q.      And in each instance, you found no statistically significant
                        increase in the price of the common stock; right?

                Ms. Posner:     Objection.

                A.      Based on what you’ve shown me, I believe that’s correct.

                Q.      Well, in two instances there was a movement but it was
                        down, not up; right?

                A.      Correct.

 [Doc. 133-1 at 213-24].       Coffman further testified that he was not asked to review whether

 Defendant’s audit reports artificially inflated the price of Miller Energy’s common stock. 11

        The Court has considered Defendant’s argument regarding the lack of price impact but

 finds that Defendant has not successfully rebutted the Basic presumption on this ground. As one

 court explained, “To successfully rebut the fraud-on-the-market presumption, however, a

 defendant cannot simply show that a price did not rise after a misrepresentation.” Burges v.

 Bancorpsouth, Inc., No. 3:14-CV-1564, 2017 WL 2772122, at *9 (M.D. Tenn. June 26, 2017)




        11
           The Court notes that in Coffman’s Corrected Report, Coffman states that he performed
 additional analysis on the movements of Miller Energy’s common stock to information concerning
 the original reporting of Miller Energy’s FY 2011 financial information. [Doc. 121 at ¶ vi]. He
 concludes that the prices of Miller Energy securities were impacted by Defendant’s audit reports,
 explaining that out of four (4) audit opinions, there was a statistically significant price movement
 in response to one audit opinion. [Id. at 76] (Exhibit 7]. In the Court’s Memorandum and Order
 on Defendant’s Motion to Exclude the Reports and Testimony of Chad Coffman [Doc. 126],
 however, the undersigned struck this opinion because it was a new opinion that Coffman
 acknowledged was not subject of his Initial Report.


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 (citing Willis v. Big Lots, Inc., 242 F. Supp. 3d 634, 657 (S.D. Ohio 2017)). Price impact can be

 shown “through evidence that the price was affected either at the time of the misrepresentation or

 at the time after a corrective disclosure.” Id. (citing Willis, 242 F. Supp. 3d at 657) (other citations

 omitted) (Emphasis in Burges). “So the fact that there was no stock price increase when the

 statements were made does not suggest a lack of price impact.” Id. (quoting Willis, 242 F. Supp.

 3d at 657). Therefore, “in order to rebut the presumption for class certification purposes,

 [d]efendants must show that the misrepresentation did not in fact affect the stock price; but

 ‘affecting the stock price’ can occur at the time the misrepresentation is made or at the time the

 corrective disclosure is given.” Id. (citing Willis, 242 F. Supp. 3d at 657). 12 Accordingly, the

 Court finds that the lack of price increase after the release of Defendant’s audit opinions does not

 rebut the Basic presumption.

         Defendant, however, also argues that Plaintiffs have alleged sixteen (16) events and

 disclosures that leaked the truth and that only two (2) of these are tied to alleged overvaluation of

 the Alaska Assets. Defendant states that these two (2) events were not followed by statistically

 significant price declines, according to Coffman. Specifically, Defendant refers to the Amended

 Complaint that alleges on December 10, 2014, Miller Energy announced a $265.3 million

 impairment charge on the Alaska Assets and that on March 13, 2015, Miller Energy announced

 another $149.1 million impairment charge on the Alaska Assets. [Doc. 59 at ¶¶ 213, 222].

 Coffman testified that according to his event study, there was not a statistically significant reaction

 to the price of the common stock after the December 10 or the March 13 impairment




         12
             The Court further notes that Dr. Attari acknowledged a price increase after Defendant’s
 first audit opinion was released, but Dr. Attari could not determine whether the increase was
 statistically significant because he had not “done the work,” and he had not formed an opinion as
 to what actually caused the price increase. [Doc. 143-2 at 161-62].
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 announcements. [Doc. 133-1 at 253-54]. While the Court agrees that these disclosures are tied

 closely to the overvaluation of the Alaska Assets, Defendant does not mention the other fourteen

 (14) disclosures. Further, Dr. Attari testified that he did not offer an opinion on negative causation.

 [Doc. 143-2 at 115]. Accordingly, the Court does not find that this argument rebuts the Basic

 presumption.

        Finally, Defendant argues that evidence shows that the proposed Class Representatives

 testified that they would have purchased the stock even if they had been aware that the price was

 tainted by fraud. For instance, Defendant states that Plaintiff Montague purchased shares after

 four (4) of the events and disclosures that leaked the truth and caused the price to decline. As the

 Supreme Court stated in Halliburton II, “[I]f a defendant could show that . . . a plaintiff would

 have bought or sold the stock even had he been aware that the stock’s price was tainted by fraud,

 then the presumption of reliance would not apply.” 573 U.S. at 269. The Court, however, does

 not find that Defendant’s challenge successfully rebuts the Basic presumption, “Basic is very clear

 that the way to rebut the presumption is to show that the investor would have paid the same price.”

 Glickenhaus & Co. v. Household Int'l, Inc., 787 F.3d 408, 432 (7th Cir. 2015). The fact that

 Plaintiff Montague purchased stock after only four disclosures does not show that he was aware

 that the price that he purchased such stock was tainted by fraud. 13 See In re Computer Scis. Corp.

 Sec. Litig., 288 F.R.D. 112, 124 (E.D. Va. 2012) (“Post-disclosure purchases are consistent with

 the fraud-on-the-market theory and may be entirely rational and indeed a sound investment where




        13
           Defendant also argues that Kenneth Martin’s and Martin Weakley’s trading patterns
 severs the link between the alleged misrepresentation and the stock purchases. As mentioned
 above, however, the Court has allowed these Plaintiffs to withdraw as Lead Plaintiffs. Further, for
 the same reasons as above, the Court does not find Kenneth Martin’s and Martin Weakley’s trading
 patterns meets Defendant’s burden to successfully rebut the Basic presumption.

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 the stock is traded in an efficient market.”). Accordingly, the Court finds Defendant has not

 successfully rebutted the Basic presumption.

        Plaintiffs also rely on the Affiliated Ute presumption. In Affiliated Ute Citizens of Utah,

 406 U.S. at 153, the Supreme Court held that for claims alleging Section 10b-5 violations

 “involving primarily a failure to disclose, positive proof of reliance is not a prerequisite to

 recovery.” Id. at 153. The Court held, “All that is necessary is that the facts withheld be material

 in the sense that a reasonable investor might have considered them important in the making of this

 decision.” Id. at 154.

        Plaintiffs state that their Amended Complaint alleges that Defendant made material

 omissions, citing ¶¶ 7, 22, 134, and 156. Defendant disagrees that the presumption is applicable,

 arguing that the presumption is only available in cases primarily involving failures to disclose.

 Defendant argues that here, Plaintiffs’ claims are not based on omissions but on alleged affirmative

 misstatements.

        As mentioned above, Plaintiffs rely on ¶¶ 7 and 134 14 in support of their argument.

 Specifically, those paragraphs provide as follows:

                  7. Specifically, after an extensive investigation, including review of
                  KPMG’s Miller Energy audit workpapers and other internal
                  documents, the SEC found, among other things, that: (1) KPMG’s
                  valuation of the Alaska Assets at an “inflated value of $480 million
                  . . .violated generally accepted accounting principles (“GAAP”) and
                  overstated the fair value of the assets by hundreds of millions of
                  dollars”; (2) KPMG “failed to comply with standards promulgated
                  by the Public Company Accounting Oversight Board (“PCAOB”),
                  chiefly with respect to the procedures relating to the oil and gas
                  properties that contained the overstated asset values”; (3) KPMG
                  “failed to obtain sufficient competent evidence regarding the impact
                  of the opening balances of the Alaska Assets, despite knowing that


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           The Court has omitted Plaintiffs’ citations to ¶¶ 22 and 156. Paragraph 22 simply
 describes Miller Energy, and ¶ 156 discusses AICPA ET (Ethics) Section 101. It is not clear to
 the Court why Plaintiffs cited these paragraphs in support of their argument.
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                no proper fair value assessment had been performed by
                management”; (4) KPMG “failed to appropriately consider the facts
                leading to Miller Energy’s acquisition of the Alaska Assets,
                including the multiple offers received for those assets and the
                “abandonment” of the assets by the prior owner” in valuing the
                Alaska Assets; (5) KPMG “failed to sufficiently review certain
                forecasted costs associated with the estimation of the fair value of
                the Alaska Assets, which were understated, and to detect that certain
                fixed assets were double counted in the company’s valuation”; (6)
                KPMG “failed to properly assess the risks associated with accepting
                Miller Energy as a client and to properly staff the audit”; (7) KPMG
                “overlooked evidence that indicated a possible overvaluation of the
                Alaska Assets”; (8) KPMG “failed to exercise the requisite degree
                of due professional care and skepticism” in auditing Miller Energy”;
                and (9) even after KPMG management and national office personnel
                became aware of the unusual and highly material valuation of the
                Alaska Assets, KPMG failed to “take sufficient action to determine
                that an appropriate response was taken by the engagement team
                regarding the risk of overvaluation of the Alaska Assets.”

                134. KPMG also had insufficient competent evidence to support the
                $110 million valuation of the fixed assets. As discussed supra,
                KPMG knew that the insurance broker was not a valuation specialist
                and that the insurance report was not sufficient evidential matter to
                support the value of the fixed assets.

        In the instant matter, Plaintiffs have alleged omissions and representations. [Doc. 59 at ¶

 7]. “Where plaintiffs' claims are based on a combination of omissions and misstatements, courts

 have acknowledged the applicability of the Affiliated Ute presumption as to the element of reliance

 with regard to alleged omissions.” Burges v. Bancorpsouth, Inc., No. 3:14-CV-1564, 2017 WL

 2772122, at *10 (M.D. Tenn. June 26, 2017) (citing Dodona I, LLC v. Goldman, Sachs & Co., 296

 F.R.D. 261, 270 (S.D. N.Y. 2014)). Accordingly, the Court finds that for purposes of class

 certification, Plaintiffs are entitle to the Affiliated Ute presumption as to its failure to disclose

 claims. See Burges, 2017 WL 2772122, at *10.




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                b.     Individual Issues of Damages

        In addition to the above, Defendant asserts that Plaintiffs cannot establish predominance

 because individual issues of damages will overwhelm common issues. Relying on Comcast Corp.

 v. Behrend, 529 U.S. 27 (2013), Defendant argues Plaintiffs must show that their damages are

 susceptible of measurement across the entire class for purposes of Rule 23(b)(3). Further,

 Defendant argues that given that Plaintiffs have relied on a materialization of the risk theory,

 Plaintiffs’ proposed calculation (i.e., the standard out of pocket measurement) is inapplicable.

 Defendant states that Plaintiffs must show that the damages’ model can distinguish between high-

 risk and low-risk investors. Defendant states that Coffman does not distinguish between such

 investors, and therefore, Coffman’s approach cannot be employed.           Defendant states that

 Coffman’s damages methodology was recently rejected by the Court of the Appeals for the Fifth

 Circuit in Ludlow v. BP, P.L.C., 800 F.3d 674 (5th Cir. 2015).

        Plaintiffs dispute that they are required to demonstrate that damages are capable of

 measurement on a class wide basis at class certification. Plaintiffs state that nevertheless, they

 have demonstrated that damages can be calculated on a class wide basis by utilizing the out of

 pocket methodology that is regularly utilized and approved in similar cases.

        The Court notes that in Comcast, the Supreme Court reviewed whether certification was

 appropriate pursuant to Rule 23(b)(3) with respect to a class of more than two million current and

 former Comcast subscribers who sought damages. 569 U.S. at 29. The plaintiffs filed a class-

 action antitrust suit, claiming that Comcast and its subsidiaries engaged in unlawful “swap

 agreements,” wherein Comcast acquired competitor cable providers and swapped their own

 systems outside the region for competitor systems located in the region (e.g., Comcast obtained

 Adelphia Communications in the Philadelphia region, along with its subscribers, and Comcast sold



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 Adelphia Communications its systems in Florida and California). Id. The plaintiffs alleged that

 this clustering scheme “harmed subscribers in the Philadelphia cluster by eliminating competition

 and holding prices for cable services at competitive levels.” Id. at 30. The plaintiffs relied on four

 theories of antitrust impact, but the District Court only certified the theory relating to reduced

 overbuilding competition. Id. at 31-32. The plaintiffs’ expert calculated a certain amount of

 damages but acknowledged that his “model did not isolate damages resulting from any one theory

 of antitrust impact.” Id.

        The Supreme Court held that the class action was improperly certified under Rule 23(b)(3).

 Id. at 34. The Court explained that the Court of Appeals erred when it refused to entertain

 Comcast’s arguments against the damages’ model simply because such arguments would also be

 pertinent to the merits determination. Id. The Court explained, “[A] model purporting to serve as

 evidence of damages in this class action must measure only those damages attributable to that

 theory. If the model does not even attempt to do that, it cannot possibly establish that damages are

 susceptible of measurement across the entire class.” Id. at 35. The Court stated that any model

 supporting damages must be consistent with liability. Id. (citing ABA Section of Antitrust Law,

 Proving Antitrust Damages: Legal and Economic Issues 57, 62 (2d ed. 2010)).

        The Court further explained that the reasoning behind the District Court and Court of

 Appeals’ decision was incorrect because it saw no need for plaintiffs to tie each theory of antitrust

 impact to a calculation of damages because such would involve considerations of the merits. Id.

 The Court observed that this reasoning “flatly contradicts” cases requiring inquiry into the merits

 of the claim.” Id. (citing Wal-Mart, 564 U.S. at 351). The Court reasoned, “Under that logic, at

 the class-certification stage any method of measurement is acceptable so long as it can be applied

 class wide, no matter how arbitrary the measurements may be.” Id. at 36 (Emphasis in original).



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 The Court concluded that there was “no question that the model failed to measure damages

 resulting from the particular antirust injury on which [plaintiffs’] liability” was premised. Id.

        Since the ruling in Comcast, a number of courts have analyzed the decision in context of

 securities actions. For instance, in In re Facebook, Inc., IPO Sec. and Derivative Litig., the court

 explained, “Comcast was an antitrust case where the regression model used to calculate damages

 did not measure damages attributable to the surviving theory of liability.” 312 F.R.D. 332, 350

 (S.D. N.Y. 2015). The court continued, “Comcast does not mandate that certification pursuant to

 Rule 23(b)(3) requires a finding that damages are capable of measurement on a class wide basis.”

 Id. (quoting Roach v. T.L. Cannon Corp., 778 F.3d 401, 402 (2d Cir. 2015)).

        In any event, Plaintiffs state that they intend to rely on the out-of-pocket methodology. In

 his Corrected Report, Coffman opines that damages under Section 10 can be calculated on a class

 wide basis. [Doc. 121 at ¶ 98]. He explains as follows:

                Indeed, the standard and well-settled formula for assessing damages
                for each class member under Section 10(b) is the “out-of-pocket”
                method which measures damages as the artificial inflation per share
                at the time of purchase less the artificial inflation at the time of sale
                (or, if the share is not sold before full revelation of the fraud, the
                artificial inflation at the time of purchase, subject to the Private
                Securities Litigation Reform Act of 1995’s “90-day lookback”
                provision, a formulaic limit on damages that also can be applied
                class-wide).

                The methodology and evidence for establishing the artificial
                inflation per share in the market price on each day during the Class
                Period is also common to the Section 10(b) Class and can be
                measured class-wide. In particular, as is standard procedure in
                Section 10(b) cases, the most common methodology to quantify
                artificial inflation is to perform an event study that measures price
                reactions to disclosures that revealed the relevant truth concealed by
                the alleged material omissions and/or misrepresentations. This
                analysis, and the evidence supporting it, would be common to the
                Section 10(b) Class. Damages for any individual class member
                could then be calculated formulaically based upon information
                collected in the claims process (i.e., the investor’s purchase and sale

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                 history for the security, which is routinely available from brokerage
                 statements and/or other documents that provide evidence of
                 securities transactions).

 [Id. at ¶¶ 99-100]. As the Middle District of Tennessee recently recognized, “Use of the out-of-

 pocket damages model in securities case is hardly new or novel – it “is the standard measurement

 of damages in Section 10(b) securities cases.” Weiner v. Tivity Health, Inc., 334 F.R.D. 123, 137

 (M.D. Tenn. 2020) (quoting City of Miami Gen. Emp. & Sanitation Emp. Ret. Tr. v. RH, Inc., No.

 17-CV-00554-YGR, 2018 WL 4931543, at *3 (N.D. Cal. Oct. 11, 2018)) (collecting

 cases). “Comcast did not change this or render the model improper.” Id.; see also City of Miami

 Gen. Employees’ & Sanitation Employees’ Ret. Tr. v. RH, Inc., No. 17-CV-00554-YGR, 2018 WL

 4931543, at *3 (N.D. Cal. Oct. 11, 2018) (“Courts regularly reaffirm that the out-of-pocket, or

 event study, method matches plaintiffs’ theory of liability under Section 10(b) of the Securities

 Exchange Act, making it the standard method for calculating damages in virtually every Section

 10(b) class action.”), leave to appeal denied, No. 18-80148, 2019 WL 2193335 (9th Cir. Jan. 24,

 2019).

          The Court finds Defendant’s reliance on the Ludlow decision unpersuasive. Specifically,

 the case involved securities litigation surrounding the Deepwater Horizon event. In re BP p.l.c.

 Sec. Litig., No. 10-MD-2185, 2014 WL 2112823, at *11 (S.D. Tex. May 20, 2014), aff’d sub

 nom. Ludlow v. BP, P.L.C., 800 F.3d 674 (5th Cir. 2015). The plaintiffs attempted to certify two

 classes: a pre-explosion class and a post-explosion class. Id. at *1. The district court declined to

 certify the pre-explosion class finding that Coffman’s damages methodology failed to measure the

 class-wide injury caused by defendants’ alleged fraud. Id. at *10. The defendants argued that the

 proper type of damages to be recovered by investors in securities fraud cases is out-of-pocket

 damages. Id. The plaintiffs argued that the post-explosion stock price declines may be recovered



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 as consequential damages from the alleged process safety fraud. Id. at *11. The district court

 noted that while the Fifth Circuit has approved consequential damages in a Section 10(b) context,

 the plaintiffs’ model interjected individualized inquiries with respect to damages. Id. The district

 court explained that plaintiffs’ theory of damages is based on being deprived of the opportunity to

 avoid the increased risk by devesting prior to the explosion. Id. The district court reasoned that

 the causal link between the alleged misstatements and the claimed losses “withstand[] scrutiny

 only if [d]efendants’ misrepresentations induced a transaction-i.e., if a particular investor would

 not have purchased the security had he known the true state of BP’s process safety programs.” Id.

 The district court concluded that the plaintiffs’ “articulation of consequential damages is

 antithetical to the ‘fraud on the market’ theory which enables class wide resolution of their clams.”

 Id. at *12.

         The Fifth Circuit agreed with the district court’s decision and explained why the

 materialization of the risk theory was not entitled to the Basic presumption. Ludlow, 800 F.3d at

 691. The Court explained as follows:

                Under Basic, courts presume reliance because (a) all information in
                an efficient market is priced into a security and (b) investors
                typically make investment decisions based on price and price
                alone. That is, if an investor makes investment decisions based upon
                price, he or she necessarily buys any particular stock in reliance
                upon all of the information or misinformation incorporated into its
                price. But plaintiffs’ own model asserts that they relied on
                something other than price: risk. By claiming that class members
                may have divested themselves of BP stock if they had known about
                the true risk of an accident in the Gulf—as distinguished from that
                risk’s impact on BP’s stock price—the plaintiffs are arguing that
                their investment decisions were based substantially upon factors
                other than price. The plaintiff’s argument thus undercuts one of the
                rationales for the Basic presumption of reliance.

 Id.




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         In the instant matter, Plaintiffs are not seeking consequential damages. Instead, Plaintiffs

 rely on the out-of-pocket methodology as prescribed in the statute—that is, the artificial inflation

 per share at the time of purchase less the artificial inflation at the time of the sale. Plaintiffs’ theory

 stems from Defendants’ misstatements and omissions that affected the price. See Rougier v.

 Applied Optoelectronics, Inc., No. 4:17-CV-02399, 2019 WL 6111303, at *17 (S.D. Tex. Nov. 13,

 2019) (“Thus, unlike the plaintiffs in BP I, the [p]laintiffs here have satisfied their burden to

 demonstrate a damages model that calculates artificial inflation, the but for price.”), report and

 recommendation adopted, No. 4:17-CV-2399, 2019 WL 7020349 (S.D. Tex. Dec. 20, 2019).

 Further, as the Seventh Circuit explained:

                 Although “materialization of risk” runs like a mantra through the
                 parties’ briefs, we do not think that it has any significance .... If a
                 firm that is losing money says “we expect to lose $100 million next
                 quarter” when the managers actually expect the loss to be $200
                 million, that statement will keep the price higher than it ought to be,
                 and when the next quarterly results show the real $200 million loss
                 the price will adjust .... The parties are wont to call the bad outcome
                 (the $200 million loss) a “materialization of the risk” that the loss
                 would exceed $100 million .... [but] [t]he phrase adds nothing to the
                 analysis .... [T]he fraud lies in an intentionally false or misleading
                 statement, and the loss is realized when the truth turns out to be
                 worse than the statement implied.

 Schleicher v. Wendt, 618 F.3d 679, 683-84 (7th Cir. 2010). Accordingly, the Court finds

 Defendant’s argument not well taken.

         c.      Individual Issues of Timeliness

         Defendant asserts that individual issues relating to timeliness will overwhelm common

 issues. Defendant states that a Section 10(b) claim is time barred if brought more than two years

 after discovery of the pertinent facts. Defendant submits that the two-year period does not begin

 to run until a plaintiff discovered or a reasonably diligent plaintiff would have discovered the facts

 constituting the violation. Defendant argues that the relevant facts, including the facts on which

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 Plaintiffs base their contention that Defendant acted with scienter, were known or discoverable by

 a reasonably diligent plaintiff before March 14, 2014, two years prior to the filing of the present

 action. Defendant states that the Amended Complaint alleges a number of red flags. Defendant

 contends that while all Plaintiffs had at least constructive notice, which is a common issue that can

 be proven on a class-wide basis, actual knowledge is an individual issue. Defendant states that

 here, the allegations are based on red flags, all of which were publicly disclosed long ago, and

 therefore, there is a question as to whether each individual potential class member had actual

 knowledge of facts and circumstances prior to March 14, 2014, barring the member’s claim.

        Plaintiffs argue that affirmative defenses alone do not compel a finding that individual

 issues predominate. Plaintiffs further state that the statute of limitations defense based on public

 information is subject to generalized proof. In addition, Plaintiffs state that there is no evidence

 that investors were put on notice of Defendant’s fraud prior to the end of the Class Period.

        “[A]n affirmative defense, standing alone, does not a compel a finding that common

 liabilities issues do not predominate.”     In re HCA Holdings, Inc., No. 14-0511, 2015 WL

 10575861, at *2 (6th Cir. Feb. 26, 2015). Defendant argues that Plaintiffs’ scienter allegations

 against Defendant are based on facts and circumstances that were publicly disclosed and a matter

 of public record. In addition, Defendant points to the Amended Complaint, which alleges a number

 of publicly known red flags. The Court acknowledges that there is some public information, if

 known by investors, which may preclude relief on Plaintiffs’ claims; however, the Court finds that

 Defendant has not sufficiently shown that any investor actually had knowledge of this information.

 See id. (affirming district court’s decision that while some public information was available,

 defendants failed to show that any investor actually had knowledge of this information). In

 addition, Defendant argues that Plaintiff Cosby had actual knowledge of the premature filing of



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 the Form 10-K without Defendant’s consent in 2011 because he read about it in the local press at

 the time. The Court agrees with Plaintiffs, however, that such reveals nothing about Defendant’s

 alleged fraud. Plaintiff Cosby testified that he relied on Defendant’s audit opinions to purchase

 shares. [Doc. 132-1 at 51]. Defendant further argues that Kenneth Martin (“Martin”) had actual

 knowledge that Scott Boruff (“Boruff”), the Executive Chairman of Miller Energy’s Board of

 Directors, purchased an expensive home because Martin lent Boruff the money to purchase the

 house. 15 Again, this does not show that Martin had actual knowledge of Defendant’s alleged fraud.

 Accordingly, the Court finds Defendant’s argument not well taken.

        ii.     Superiority

        Plaintiffs argue that a class action is superior to alternative methods of resolving this

 dispute for several reason. First, Plaintiffs argue that they are unaware of any class member who

 would prefer to control the prosecution of his/her claim individually, likely because doing so would

 be prohibitively expensive. Second, Plaintiffs state that no individual claims have been asserted

 against Defendant for its violation of the securities laws in connection with Miller Energy. Third,

 Plaintiffs state that geographical dispersion of the members of the classes means that it is desirable

 that their claims be litigated in a single forum. Finally, Plaintiffs state that this case presents no

 unusual difficulties in maintaining the class action or providing notice of the classes. Plaintiffs

 submit that judicial economy and the best interests of the classes favor class certification because

 the alternative would burden the judiciary and deprive the classes of any practical means of seeking

 recourse.




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            As mentioned above, the Court allowed Kenneth Martin to withdraw as a named Plaintiff
 in this case.
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        A class action is superior in circumstances “where it is not economically feasible to obtain

 relief within the traditional framework of a multiplicity of small individuals suits for damages,

 [and thus] aggrieved persons may be without any effective redress unless they may employ the

 class-action device.” Young, 693 F.3d at 545 (quoting Deposit Guar. Nat’l Bank v. Roper, 445

 U.S. 326, 339 (1980)). A class action is not the superior method of adjudication if a court must

 make individual inquiries. Id. In situations where class members are unaware of a violation of

 the law, and thus are unlikely to file individual suits, a class action may be superior to properly

 vindicate rights. Id.

        As an initial matter, the Court notes that Defendant does not respond to this argument. The

 Court has considered Plaintiffs’ argument and finds that they have established superiority. As

 Plaintiffs have argued, there is no evidence that any class member would prefer to control the

 prosecution of his or her claim individually, and the Court is not aware of any individual claims

 that have been asserted against Defendant at this time. Further Plaintiffs state that the members

 are geographically dispersed, and there is no evidence that maintaining the class action will be

 unusually difficult. Accordingly, the Court finds that Plaintiffs have established predominance.

        B.      Section 11 Class

        With respect to the Section 11 Class, Plaintiffs move to certify all persons or entities who

 purchased or otherwise acquired Miller Energy Series C Preferred Stock or Series D Preferred

 Stock pursuant to or traceable to the Offering Documents and were damaged thereby. The Court

 will now turn to the class certification requirements in Rule 23.

        1.      Rule 23(a)

        As mentioned above, Plaintiffs must establish the following four requirements under Rule

 23(a): (1) the class is so numerous that joinder of all members is impracticable; (2) there are



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 questions of law or fact common to the class; (3) the claims or defenses of the representative parties

 are typical of the claims or defenses in the class; and (4) the representative parties will fairly and

 adequately protect the interests of the class.

        The Court will address these elements separately.

        i.      Numerosity

        Plaintiffs assert that the Section 11 Class is so numerous that joinder is impractical.

 Plaintiffs argue that according to SEC documents, more than 6.21 million Series C and Series D

 Preferred Shares were sold in the Offerings during the Class Period. Plaintiffs also state that the

 average weekly turnover as a percentage of shares outstanding for the Series C and Series D

 Preferred Stock during the Class Period was 5.16% and 7.93% shares per week respectively.

 Plaintiffs assert that such turnover demonstrates that there are thousands of investors who are part

 of the Section 11 Class.

        Defendant disputes numerosity stating that Plaintiffs have not offered evidence of the

 “thousands” of class members. Defendant states that Plaintiffs’ only argument is the average

 weekly turnover rate, but Defendant claims that this argument undermines Plaintiffs’ position.

 Defendant states that the more frequently the Preferred Stock traded and turned over, the less likely

 that there are purchasers who either bought in these two Offerings at issue or who can trace their

 shares to those Offerings. Defendant states that there are two groups in the Section 11 class—

 those who purchased in certain initial public offerings or those who can trace to such offerings and

 who were damaged thereby. Defendant argues that Plaintiffs presented no evidence that any of

 the original purchasers are members of the proposed Class—that is, members who purchased

 directly in the Offerings in question.




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        The Court agrees with Plaintiffs that Defendant’s argument is merely a tracing argument.

 As mentioned above, more than 6.21 million of Series C and Series D Preferred Shares were sold

 in the Offerings during the Class Period, and the average weekly turnover as a percentage of shares

 outstanding was 5.16% and 7.93%, respectively. Burges v. Bancorpsouth, Inc., No. 3:14-cv-1564,

 2017 WL 2772122, at *2 (M.D. Tenn. June 26, 2017). (“Numerosity is generally assumed to have

 been met in class action suits involving nationally traded securities.”). Accordingly, the Court

 finds that Plaintiffs have established numerosity with respect to their Section 11 Class.

        ii.     Commonality

        Plaintiffs rely on the same argument that they made with respect to the Section 10 Class.

 See supra Part IV, section A(1)(ii). Specifically, Plaintiffs state that Defendant made uniform

 misrepresentations to the investing public and that the misrepresentations and omissions artificially

 inflated the price of the Miller Energy Securities and injured each member. Plaintiffs list the same

 common questions of law and fact. See supra Part IV, section A(1)(ii).

        Defendant does respond to Plaintiffs’ argument that commonality has been established.

 Accordingly, for the same reasons discussed above, the Court finds that Plaintiffs have established

 that there are questions of law and fact that are common to the class.

        iii.    Typicality

        With respect to the typicality requirement, Plaintiffs rely on the same argument advanced

 for their Section 10 Class.     Defendant argues that Plaintiff Ziesman is the only proposed

 representative for the Section 11 Class, and his claims are not typical. Defendant states that

 Plaintiff Ziesman is not a member of the Section 11 Class because he did not purchase any

 Preferred Stock in any of the Offerings. Defendant states that he purchased his Series C Preferred

 Stock in the open market on June 4, 2014, and that he admitted he cannot trace his shares to the



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 Offerings in this case. Defendant states that Coffman and Dr. Attari also agreed that the shares

 that Plaintiff Ziesman purchased were not purchased in any offering and cannot be traced to the

 Offerings at issue in the Section 11 claim. Plaintiffs reply that tracing questions are not appropriate

 at the class certification stage.

         While the Court has considered Defendant’s argument, the undersigned notes that many

 courts hold that “tracing is a merits issue that the court need not consider at the class certification

 stage.” Wallace v. IntraLinks, 302 F.R.D. 310, 319 (S.D. N.Y. 2014) (citing In re Smart

 Technologies, Inc. Shareholder Litig., 295 F.R.D. 50, 61-62 (S.D. N.Y. 2013)); see also In re

 Cobalt Int’l Energy, Inc. v. Securities Litigation, No. 14-cv-3428, 2017 WL 260823, at *5 (S.D.

 Tex. June 15, 2017). The Court further notes that “[t]ypicality generally presents a low burden

 that is easily satisfied.” In re HealthSouth Corp. Sec. Litig., 261 F.R.D. 616, 627 (N.D. Ala. 2009).

 The typicality requirement simply requires that “other members of the class . . . have the same or

 similar grievances as the plaintiff.” E. Maine Baptist Church v. Union Planters Bank, N.A., 244

 F.R.D. 538, 549 (E.D. Mo. 2007) (citing Alpern v. UtiliCorp United, Inc., 84 F.3d 1525, 1540 (8th

 Cir.1996) (other citations omitted). In Alpern, the named plaintiff asserted claims arising from the

 purchase of certain securities as part of the defendant’s dividend reinvestment plan (“DRIP”), but

 also sought to represent a class of plaintiffs who had purchased securities on the open market. The

 district court found that the plaintiff’s claims were not typical of the class claims, noting that

 “Alpern did not make any UtiliCorp stock purchases on the open market.” Alpern at 1540. In

 overruling the district court, the Eighth Circuit held that the named plaintiff’s participation in the

 DRIP did not render his claims atypical of a class including open market purchasers. The Court

 explained that because the named representative’s claim invoked the same legal theory—securities

 fraud by making knowing misleading statements or omissions—the named plaintiff’s claims were



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 typical of the class as both challenged the defendant’s course of conduct under the securities

 laws. Id. Here, Plaintiff Ziesman’s claims are typical because they arise out of the same event

 that gives rise to the claims of other class members—that is, Defendant’s alleged misstatements

 and omissions. Therefore, the Court finds such is sufficient to establish typicality. See also In re

 Marsh & McLennan Co., Inc. Sec. Litig., No. 04 CIV. 8144 (CM), 2009 WL 5178546, at *10

 (S.D.N.Y. Dec. 23, 2009) (“Factual differences involving the date of acquisition, type of securities

 purchased and manner by which the investor acquired the securities will not destroy typicality if

 each class member was the victim of the same material misstatements and the same fraudulent

 course of conduct.”).

        Further, Defendant also asserts that even if Plaintiff Ziesman were a member of the

 proposed Section 11 class, his claim would not be typical because he must establish reliance, and

 the other members do not. Specifically, Defendant argues that Plaintiff Ziesman is subject to 15

 U.S.C. § 77k(a) because he purchased his Series C Preferred Shares on June 4, 2014, and the

 effective date of the Registration Statement at issue was September 18, 2012.

        The parties agree that with respect to Section 11 claims, Plaintiffs generally do not have to

 establish reliance; however, pursuant to 15 U.S.C. § 77k(a):

                If such person acquired the security after the issuer has made
                generally available to its security holders an earning statement
                covering a period of at least twelve months beginning after the
                effective date of the registration statement, then the right of recovery
                under this subsection shall be conditioned on proof that such person
                acquired the security relying upon such untrue statement in the
                registration statement or relying upon the registration statement and
                not knowing of such omission, but such reliance may be established
                without proof of the reading of the registration statement by such
                person.

        As Plaintiffs pointed out in their Reply, “[A] filing, including a quarterly or annual report

 that may constitute an ‘earning statement’ for purposes of Section 11, must include the requisite

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 material disclosures and be prepared in accordance with generally accepted accounting principles.”

 In re WorldCom, Inc. Sec. Litig., (“WorldCom”) 219 F.R.D. 267, 289 (S.D.N.Y. 2003). The court

 in WorldCom concluded:

                An earning statement that violates the SEC filing requirements
                should not be considered an “earning statement” for purposes of
                Section 11, and should not function in a Section 11 claim to shift to
                the plaintiff the burden of proving reliance. It would be illogical
                indeed if any filing—no matter how inaccurate or misleading, and
                despite its perpetuation of the very misrepresentations at stake in the
                Section 11 claim—were sufficient to shift the burden to the plaintiffs
                to establish reliance on the Registration Statement. Whether a filing
                is sufficient to shift the burden must depend on whether it meets the
                requirement for earning statements imposed by the SEC rules and
                regulations.

 Id. at 293-94; see also In re Countrywide Fin. Corp. Sec. Litig., 273 F.R.D. 586, 622 (C.D. Cal.

 2009) (discussing WorldCom and agreeing “with the essence of this reasoning”).

        Accordingly, the Court finds Defendant’s arguments not well taken at this time, and for the

 reasons stated above, supra Part IV, section A(1)(iii), the Court finds that Plaintiffs have

 established typicality with respect to the Section 11 Class.

        iv.     Adequacy

        Defendant claims that the proposed Class Representatives and Class Counsel are not

 adequate. Defendant states that the only proposed Class Representative for the Section 11 Claim

 is Plaintiff Ziesman, who did not apply for appointment in compliance with the statutory

 requirements for doing so. Thus, Defendant argues that Plaintiff Ziesman is not authorized to

 bring claims on behalf of purchasers of the Preferred Stock and that his chosen counsel is also

 inadequate for complying with the statutory requirements for appointing Plaintiff Ziesman.

        Plaintiffs state that Plaintiff Ziesman is not the only proposed representative for the Section

 11 claim and that Plaintiffs Cosby and Montague also seek to represent the Section 11 Class.



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 Plaintiffs argue that the proposed representatives sustained losses because the same alleged

 material misrepresentations and omissions contained and repeated in Miller Energy’s financial

 statements, Defendant’s audit opinions, and the Offering Documents. Further, Plaintiffs argue that

 adding, withdrawing, and substituting class representatives is a customary feature of class action

 practice and that there is no reason why the added class representative, like Plaintiff Ziesman,

 cannot represent the Section 11 Class, even though he was not initially appointed as a Lead

 Plaintiff.

         As mentioned above, Rule 23(a)(4) requires that “the representative parties will fairly and

 adequately protect the interests of the class.” This requirement contains two criteria: “(1) the

 representatives must have common interests with unnamed members of the class, and (2) it must

 appear that the representatives will vigorously prosecute the interests of the class through qualified

 counsel.” Senter v. Gen. Motors Corp., 532 F.2d 511, 525 (6th Cir. 1976) (citing Gonzales v.

 Cassidy, 474 F.2d 67, 73 (6th Cir. 1973)).

         With respect to Plaintiff Ziesman not seeking appointment, the Court does not find this to

 be fatal to the adequacy requirement. A similar argument was addressed by the Court in In re

 WorldCom, Inc. Sec. Litig., 219 F.R.D. 267, 286 (S.D.N.Y. 2003). In that case, the defendants

 argued that several of the named plaintiffs were inadequate because they were not selected as a

 lead plaintiff under the Private Securities Litigation Reform Act (“PSLRA”). Id. at 286. The court

 disagreed explaining, “The PLSRA does not prohibit the addition of named plaintiffs to aid the

 Lead Plaintiff in representing the class.” Id. The court reasoned that prudence dictated that named

 plaintiffs be added to assist in representing the bondholders since the other plaintiff did not

 purchase several of the notes.” Id. Thus, the court held, “Although the lead plaintiff must

 otherwise satisfy the requirements of Rule 23, nothing in the text of the PSLRA indicates that



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 every named plaintiff who satisfies the requirements of Rule 23 must also satisfy the criteria

 established under the PSLRA for appointment as lead plaintiff and actually be appointed as a lead

 plaintiff. Appointment of a lead plaintiff and certification of the class occur at two different stages

 of the litigation, and are to be reviewed under the separate standards that govern each process.”

 Id.

        In the instant matter, the Court finds that reasoning in In re WorldCom, Inc. Sec. Litig.,

 persuasive, and the Court does not find Plaintiff Ziesman or Class Counsel to be inadequate for

 not applying for appointment under the PSLRA. Accordingly, for the same reason as stated above,

 see supra Part IV, section A(1)(iv), the Court finds that Plaintiffs have established the adequacy

 requirement.



        2.      Rule 23(b)(3)

        As mentioned above, pursuant to Rule 23(b)(3), Plaintiffs must show that questions of law

 and fact common to class members predominate over any questions affecting only individual

 members. Fed. R. Civ. P. 23(b)(3). Plaintiffs must also show that the class action is superior to

 the other available methods for fairly and efficiently adjudicating the controversy. Fed. R. Civ. P.

 23(b)(3). The Court will address these requirements in turn.

        i.      Predominance

        Defendant asserts that common questions of law and fact do not predominate for three

 primary reasons. Specifically, Defendant argues that individual issues of reliance, damages, and

 timeliness will overwhelm common issues. The Court will address these separately.




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        a.         Individual Issues of Reliance

        Defendant asserts that individual issues of reliance will overwhelm common issues.

 Defendant explains that anyone who purchased between December 11, 2013, (the date when Miller

 Energy had disclosed earning statements covering over twelve months beginning after the effective

 date of the registration statement) and March 29, 2016, (the date the price of the securities declined

 to zero) will have to prove reliance in order to recover under Section 11, citing to 15 U.S.C §§

 77(k)(a)(5).      Defendant further states that the Basic presumption and the Affiliated Ute

 presumption do not apply.

        The Court has already addressed a similar argument above, see supra Part IV, section

 B(1)(iii) (“Typicality”). Accordingly, for the same reasons, the Court finds Defendant’s argument

 not well taken.

        b.         Individual Issues of Damages

        Defendant asserts that individual issues of damages will overwhelm common issues.

 Specifically, Defendant asserts that there were several offerings of the Series C Preferred Stock at

 different offering prices and that the Section 11 Class includes investors who purchased their

 shares in or traceable to only two of those offerings. Defendant states that with respect to the

 Series D Preferred Stock, there were multiple offerings at different initial offering prices.

 Defendant submits that the Section 11 Class includes investors who purchased their shares in or

 traceable to only three of these offerings. Thus, Defendant states that there is no way to calculate

 damages on a class-wide basis because in order to apply the statutory formula, it is necessary to

 know the price at which the security was offered to the public. Defendant argues that the same

 holds true for the after-market purchasers.




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        The Court agrees with Plaintiffs that Defendant’s argument amounts to a tracing issue. A

 number of courts have held that the difficulties with tracing do not defeat class certification. See

 Freeland v. Iridum World Commc’ns, Ltd., 233 F.R.D. 40, 45-46 (D.D.C. 2006) (“[A]ny difficulty

 by individual class members in tracing their particular aftermarket-purchased shares to the

 Registration Statement is a secondary issue to be resolved after the predominant issue of Defendant

 Underwriters’ liability has been decided. It would be inappropriate to foreclose such Plaintiffs’

 resort to the class action format simply because some of their cases may be difficult to prove.”);

 United Food and Commercial Workers Union v. Chesapeake Energy Corp., 281 F.R.D. 641,

 (W.D. Okla. 2012) (“Difficulties in tracing do not, however, automatically exclude from a class

 those who obtained their stock through an aftermarket purchase . . . Aftermarket purchasers have

 standing to pursue their claims if they can prove the securities they purchased were sold in the

 offering covered by the challenged registration statement.”); In re Colbalt Int’l Energy, Inc., Sec.

 Litig., 2017 WL 2608243, at *5 (“[T]he requirement that each [p]laintiff must ultimately show that

 he purchased his shares of Cobalt stock in connection with a public offering does not preclude

 class certification.”); Beaver Cty. Empl. Ret. Fund, 2016 WL 4098741, at *13 (“Plaintiffs

 recognize that tracing is complicated, if not impossible, and that they may ultimately be unable to

 craft a methodology for determining whether a security purchased in the aftermarket was

 purchased pursuant to the allegedly defective December 2012 public offering. However, as other

 courts have noted, tracing is a merits issue that should not be considered at this stage.” In re Smart

 Tech., Inc., S’holder Litig., 295 F.R.D. 50, 61-62 (S.D. N.Y. 2013) (“But tracing is a merits issue

 that the court need not consider at the class certification stage.”); In re Direct Gen. Corp. Sec.

 Litig., No. 3:05-cv-0077, 2006 WL 2265472, at *3 (M.D. Tenn. Aug. 8, 2006) (“[F]or purposes of

 class certification, the common question of whether the registration statements were materially



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 misleading predominates over any secondary tracing issues that might be encountered later in the

 litigation.”).

          Here, Plaintiffs have relied on the statutory formula for calculating damages. In re

 Oppenheimer Rochester Funds Group Sec. Litig., 318 F.R.D. 435, 447 (D. Col. 2015) (noting that

 the “calculation of damages is common to the Class as well”) (citing 15 U.S.C. § 77k(e)); N.J.

 Carpenters Health Fund v. Residential Capital LLC, No. 08-CV-8781, 2013 WL 6389093, at *5

 (S.D. N.Y. Dec. 27, 2013) (“[S]ection 11(e) of the Securities Act sets out the proper method for

 calculating damages in this case.”). Accordingly, the Court finds Defendant’s argument not well

 taken.

          c.      Individual Issues of Timeliness

          Defendant asserts that individual issues of timeliness will overwhelm common issues.

 Defendant argues that a Section 11 claim must be brought “one year after discovery of the untrue

 statement or the omission, or after such discovery should have been made by the exercise of

 reasonable diligence.” [Doc. 129 at 32] (citing 15 U.S.C. § 77m). Defendant states that each

 member of the proposed class who was aware of the facts and circumstances giving rise to the

 claim prior to March 14, 2015, is barred from recovery under Section 11. Defendant states that

 such cannot be resolved on a class-wide basis.

          As mentioned above, “[A]n affirmative defense, standing alone, does not compel a finding

 that common liability issues do not predominate.” In re HCA Holdings, Inc., 2015 WL 10575861,

 at *2. Defendant does not provide any evidence of this affirmative defense but simply argues that

 it precludes class certification. The Court disagrees and finds Defendant’s argument not well

 taken.




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         ii.     Superiority

         Plaintiffs argue that they have established superiority for the same reasons that they

 articulated for their Section 10 Class. Defendant does not challenge superiority. Accordingly, for

 the same reasons, supra Part IV, section A(2)(ii). (“Superiority”), the Court finds Plaintiffs have

 satisfied superiority.

         C.      Series D Preferred Shares

         Defendant asserts that a class of purchasers of Series D Preferred Stock may not be certified

 because none of the three proposed Class Representatives purchased the Series D Preferred Stock.

 Defendant states that Plaintiffs Cosby and Montague purchased common stock and that Plaintiff

 Ziesman purchased the Series C Preferred Stock. Defendant argues that Coffman admitted that

 the Series C and Series D Preferred Stock were different securities with different characteristics

 that traded at different prices. Defendant argues that none of the Class Representatives have

 standing to sue on behalf of the Series D Preferred Stock purchasers. Defendant also states in a

 footnote that the Court previously held that the question of whether Plaintiffs may pursue claims

 on behalf of purchasers of the Preferred Stock was “premature.” [Doc. 129 at 38 n. 33]. Defendant

 states that in the Memorandum and Order on its motion to dismiss, the Court granted the parties

 leave to refile the motion to dismiss the Section 11 claim after the class certification had been

 raised or ruled on by the Court. Defendant states that it reserves the right to file such motion after

 the Court decides the motion for class certification. [Id.].

         Plaintiffs respond that the Class Representatives do not need to have had purchased a

 specific security to represent the interests of the purchasers of that security, citing NECA-IBEW

 Health & Welfare Fund v. Goldman Sachs & Co., 693 F.3d 145, 162 (2d Cir. 2012).

         During the oral argument in this case, Plaintiffs maintained that the clear standard or



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 bedrock principle is that a plaintiff must have purchased from the same registration statement and

 need not have purchased each of the securities at issue. Defendant disagreed, arguing that NECA-

 IBEW Health & Welfare Fund created a circuit split and that such cases were confined to mortgage

 backed securities. 16

         The parties frame their issue as one of standing (i.e., whether the named Plaintiffs have

 standing to sue on behalf of the Series D Preferred Stock purchasers). The Court finds that this

 issue is better addressed through dispositive motion practice as opposed to an issue for class

 certification. In re Carrier IQ, Inc., 78 F. Supp. 3d 1051, 1074 (N.D. Cal. 2015) (explaining that

 courts have the discretion to defer questions of standing until after class certification). 17

 Accordingly, Defendant’s argument is not well taken at this time.




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            While Plaintiffs cite to NECA-IBEW Health & Welfare Fund for the position that named
 plaintiffs are not required to have purchased a specific security to represent the interests of the
 purchasers of that security, the undersigned notes that the Second Circuit’s decision has been
 criticized. In re Countrywide Fin. Corp. Mortg.-Backed Sec. Litig., 934 F. Supp. 2d 1219, 1229
 (C.D. Cal. 2013) (“The Court again rejects the reasoning of the Second Circuit’s recent decision
 on class standing.”); Oklahoma Law Enf't Ret. Sys. v. Adeptus Health Inc., No. 4:17-CV-00449,
 2018 WL 4352836, at *6 (E.D. Tex. Sept. 12, 2018) (“However, several courts since this decision
 have declined to follow the class standing doctrine.”) (collecting cases). While Defendant argued
 at the hearing that NECA-IBEW Health & Welfare Fund created a circuit split, the parties did not
 sufficiently brief this issue in their filings.
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            The Court notes that deferring such a consideration does not defeat the adequacy or
 typicality requirements. As explained above, the adequacy element requires that the representative
 have common interests, not exact interests, with the unnamed members of the class. See Fed. R.
 Civ. P. 23(a)(4) (Emphasis added). The typicality element requires that the named plaintiffs’
 claims arise out of the claims of other claims members or if the claims are based on the same legal
 theory. Fed. R. Civ. P. 23(a)(3). See also In re Dreyfus Aggressive Growth Mut. Fund Litig., No.
 98CIV.4318(HB), 2000 WL 1357509, at *3 (S.D.N.Y. Sept. 20, 2000) (“Courts have repeatedly
 certified classes where the class representatives had not invested in all of the subject securities.”).


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        D.      Appointment of Class Counsel and Class Representatives

        Plaintiffs move that the Court appoint Gordan Ball PLLC and Cohen Milstein Sellers &

 Toll PLLC as their Class Counsel. Plaintiffs state that the factors articulated in Rule 23(g)(1)

 factor the appointment of Gordan Ball PLLC and Cohen Milstein Sellers & Toll PLLC.

 Specifically, Plaintiffs state that Gordan Ball has served as lead or co-counsel for plaintiffs in

 dozens of antitrust, consumer, and product liability class actions across the United States. [Doc.

 107-3 at 2-12]. In addition, Plaintiffs state that Cohen Milstein Sellers & Toll PLLC has extensive

 securities litigation experience and successfully prosecuted numerous securities fraud class actions

 on behalf of injured investors recovering billions for investors. [Doc. 40-3],

        Rule 23(g)(1)(A) provides as follows:

                Unless a statute provides otherwise, a court that certifies a class must
                appoint class counsel. In appointing class counsel, the court:

                (A) must consider:

                (i)     the work counsel has done in identifying or investigating
                        potential claims in the action;

                (ii)    counsel's experience in handling class actions, other
                        complex litigation, and the types of claims asserted in the
                        action;

                (iii)   counsel's knowledge of the applicable law; and

                (iv) the resources that counsel will commit to representing the class.

        The Court may also consider “any other matter pertinent to counsel’s ability to fairly and

 adequately represent the interests of the class.” Fed. R. Civ. P. 23(g)(1)(B).

        The Court has reviewed the experience of Class Counsel in addition to the work performed

 in the instant matter, and the Court finds Plaintiffs’ argument well taken. Class Counsel has been

 involved in this matter since the lawsuit’s infancy and has litigated numerous motions, including



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 a motion to dismiss, a Daubert motion, and the instant Motion. Further, Class Counsel’s resumes

 establish the necessary qualifications and experience for handling this action. The Court is

 confident that Class Counsel is knowledgeable to litigate this action and maintains the necessary

 resources to do so. Accordingly, the Court finds Plaintiffs’ argument that Class Counsel be

 appointed well taken.

        Further, Plaintiffs also move the Court to appoint Lewis Cosby, Eric Montague, and Martin

 Ziesman as Class Representatives in this action. Accordingly, for the reasons stated above, the

 Court finds that they have met the necessary Rule 23 requirements, and the Court will recommend

 that they be approved as Class Representatives.

 V.     CONCLUSION

        Accordingly, for the reasons explained above, the Court RECOMMENDS 18 that

 Plaintiffs’ Motion to Certify the Classes, Appoint Class Representatives, and Appoint Class

 Counsel [Doc. 107] be GRANTED.

                                                        Respectfully submitted,


                                                        ___________________________
                                                        Debra C. Poplin
                                                        United States Magistrate Judge




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            Any objections to this Report and Recommendation must be served and filed within
 fourteen (14) days after service of a copy of this recommended disposition on the objecting party.
 Fed. R. Civ. P. 72(b)(2). Such objections must conform to the requirements of Federal Rule of
 Civil Procedure 72(b). Failure to file objections within the time specified waives the right to appeal
 the District Court’s order. Thomas v. Arn, 474 U.S. 140, 153-54 (1985). “[T]he district court need
 not provide de novo review where objections [to the Report and Recommendation] are ‘[f]rivolous,
 conclusive or general.’” Mira v. Marshall, 806 F.2d 636, 637 (6th Cir. 1986) (quoting Nettles v.
 Wainwright, 677 F.2d 404, 410 n.8 (5th Cir.1982)). Only specific objections are reserved for
 appellate review. Smith v. Detroit Federation of Teachers, 829 F.2d 1370, 1373 (6th Cir. 1987).

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